Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 1 of 96 PagelID 1

IN AND FOR THE COURT Fle

a
U.S. DISTRICT COURT sve p

s Ce 20
MIDDLE DISTRICT OF FLORIDA 02Sf[P1§ pro. '4.
er-c.a
eRe S Norrie:
Heb ee Gg
A Mok Fhe
CLIFFORD COHOON , PLAINTIFF
vs, Jb 7!) Bm
STATE OF FLORIDA cs. 0-02-CY- He T- 26

FLORIDA FISH & WILDLIFE
CONSERVATION COMMISSION

FLORIDA ATTORNEY GENERAL
CITY OF SANIBEL

CITY OF PORT RICHEY

CITY OF PLANTATION

CITY OF PARKLAND

CITY OF PARKER

CITY OF PANAMA CITY

CITY OF PALMETTO

CITY OF ORMOND BEACH
CITY OF LANTANA

CITY OF LAKE WORTH

CITY OF JACKSONVILLE BEACH
CITY OF VERO BEACH

CITY OF VENICE

CITY OF VALPARAISO

CITY OF TITUSVILLE

CITY OF TAMPA

CITY OF SURFSIDE

CITY OF STUART

CITY OF SATELITE BEACH

(DEFENDENTS CONT. , NEXT PAGE)
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 2 of 96 PagelD 2

(DEFENDENTS CONT. )

CITY OF ST. PETERSBURG
CITY OF GULFPORT

CITY OF TREASURE ISLAND
CITY OF TARPON SPRINGS
CITY OF SAFETY HARBOR
CITY OF MADERIA BEACH
CITY OF OLDSMAR

CITY OF CLEARWATER

CITY OF INDIAN ROCKS BEACH
CITY OF LARGO

CITY OF COCOA

CITY OF BRADENTON

CITY OF BRADENTON BEACH
CITY OF BAY HARBOR ISLANDS
CITY OF KEY COLONY BEACH
CITY OF ANNA MARIA

CITY OF HIGHLAND BEACH
CITY OF COCOA BEACH

CITY OF GOLDEN BEACH
CITY OF FLAGLER BEACH
CITY OF CORAL SPRINGS
CITY OF FT. MYERS

CITY OF DEERFIELD BEACH
CITY OF DANIA BEACH

CITY OF MIAMI

COUNTY OF PASCO

COUNTY OF HERNANDO

(DEF. CONT.)

COUNTY OF SARASOTA

COUNTY

COUNTY

COUNTY

COUNTY

COUNTY

COUNTY

OF

OF

OF

OF

OF

OF

PINELLAS

SANTA ROSA

CITRUS

DADE

MANATEE

PALM BEACH

DEFENDENTS

(ALL BUT THE FIRST THREE

DEFENDENTS AS A TOWN AND OR

MUNICIPLE CORPORATIONS IN THE

STATE OF FLORIDA)
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 3 of 96 PagelD 3

" PLAINTIFFS PETITION FOR INJUNCTIVE RELIEF "

1.) Plaintiffs fundamental U.S. Constitutional rights are
violated in and by the state of Florida and seeks relief via
SEC. 1983 and the courts authority to issue injunctions.

a.) Plaintiffs fifth amendments right to conduct an other-
wise legal business free from "repugnant overregulating" and the
freedom from unreasonable restraint to pursue a legal business,
is violated in and by the state of Florida.

b.) Plaintiffs fourteenth amendments right to due process

are violated as his Chapter 120 (F.S.120) protected "occupation"

is stripped of its due process detect and correct safeguards as
the Administrative Procedures Acts prevention provisions are
made moot in the state of Florida.

c.) Plaintiffs “occupation" is an “interstate commerce" and
the cummalative effects of a.) and b.) violate the commerce

clause of the U.S. Constitution.

2.) THE STATE OF FLORIDA ALLOWS A MULTITUDE OF GOVERNMENT
AGENCIES (municipalities) TO PROMULGATE INTERVENING AND INCON-
GROUS REGULATIONS THAT EMASCULATE AND DISARM COMPLETELY THE RE-
MEDIAL MECHANISMS INTENDED BY THE U.S. CONGRESS AND THE FLORIDA
LEGISLATURE TO DETECT AND CORRECT AND PREVENT RECKLESS AND UNLAW-
FUL RULEMAKING , WHICH IN THIS CAUSE , RESULTS AS "REPUGNANT
OVERREGULATING".

AT SOME POINT THE JUDICIAL PROCESS MUST CATCH UP TO THE

REGULATORY PROCESS , PLAINTIFF MOVES THE COURT FOR THAT POINT.
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 4 of 96 PagelD 4

3.) Plaintiffs "occupation" is such ;
a.) “commercial fisher" SALTWATER PRODUCTS LICENSE # 73178 .
b.) Licensed by the state of Florida to conduct a legal business
throughout the state as a whole and subject only to the states
rules and regulations.
c.) PREEMPTED for the power to regulate by the state of Florida
via the (F.F.W.C.C.) Florida Fish & Wildlife Conservation Com-
mission , a state agency.

d.) Fully cloaked in Chapter 120 (F.S.120) provisions in that all

rules and regulations having an effect upon plaintiffs “occupa -
tion" must be submitted to and pass through and only originate

from F.F.W.C.C. .

e.) A statewide industry and an interstate commerce,.

f.) "PROHIBITED" to be regulated by municipalities in any manner

whatsoever by self executing language of the Fla. Constitution.

4.) Petitioner asserts that injunctive relief should lie and

issue forth , in that ;
**x*a.) Irreparable harm to plaintiffs "occupation" is past, pres-
ent, and into the ever ongoing future with no end in sight.
* constant daily loss of legal income.
* Multiple prima facie unconstitutional prosecutions, fines,
forfeitures and incarcerations.
* Multiple statewide illegal denial of access to legal pro-
ductive saltwaters and their resources,
* Multiple illegal denial of access or methods of taking
resources (gear) that are legal.

*kkkb.) The publics interest is effected in no way.
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 5 of 96 PageID 5

4.) (cont.)
*xkko.) Success on merits of cause is prima facie for plaintiff
in that no argument can be had or defense made by the

defendents

-- municipalities cannot regulate plaintiffs

"occupation" in the state of Florida and yet it thrives ,
There is no defense for this cause before the Court only
intervention and relief.

*xk*kqd,.) No adequate remedy exist in law or administrative pro-
cedures or monetary recovery.

A multitude of Declaratory Judgements statewide is not a via-
ble remedy , especially not a Chapter 120 (F.S.120) protected
“occupation” where the intent of the Administrative Procedures
Act was to unclog the courts dockets of multiple Declaratory
Judgements from being filed --- that is one of the hearts of this
cause before the court --~- Chapter 120's detect and correct pro-
visions are made moot in the state of Florida.

This cause is also a prima facie "class action” cause upon a

entire state industry , so broad in scope such as to make or

affix a monetary relief , remote at best.

*kke,) That multiplicity of suits is self evident.

5.) Plaintiff moves the Court to consider the following
totality of exhausted remedies sought by plaintiff to the state

of Florida, for ongoing three (3) years, to no avail whatsoever.

***a.) Govenor Bush
- 3 Letters

***H.) FLF.W.C.C. (plaintiffs sole regulator)
- 50 Letters & documents
- 27 Phone Calls

-- 2 Declaratory Statements
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 6 of 96 PagelID 6

5,) (cont. )

kkkO,) D.OA.H. (Division of Administrative Hearings)

2 Letters

2 Petitions

- 5 Phone Calls

NOTE : This supreme protector of plaintiffs occupation from being

illegally regulated , had full knowlege and was an eyewitness to the
repugnant overregulating that is before this court and claimed
"hands tied" , unable to intervene stance. When the assigned slayer
of repugnant overregulating can allow it to exist citing technicali-
tie , then the remedial mechanisms of laws in place are truly made

moot , and such is the case.

***d,) J.A.P.C. (Joint Administrative Procedures Committee)
- 2 Letters
- 2 Phone Calls
*x*e,) Fla. Atty, General (civil rights)
- 2 complaints (letters)
-4 Phone Calls
*kkf,) Circuit Courts

- 2 Declaratory Judgments

ALL the above succinctly notified and redundantly notified ,
for over three (3) years, to no avail whatsoever.

This is far from a complicated matter of law brought to the
attention of these learned men in the State of Florida, but rather
a baby legal comprehension of law at best. It is embarassing to
bring such an easily discerned matter to the Federal Court but if
this Court does not intervene then repugnant overregulating is here

to stay in the state of Florida.
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 7 of 96 PagelID 7

6.) Plaintiff asserts the following factual truths:

***a.) Can a municipalitie regulate plaintiffs occupation in
the state of Florida? NO

*k*kb,) Do a multitude of municipalities regulate plaintiffs

occupation in Florida? YES

7.) The perfect ladder of Legislative intent :
-- Fla. Const. ART. III SEC, 11 (a) (20)
--~ F.S. 370.027
-- F.S. 166.021 (3) (c)
-- Chapter 120 Provisions
Constitutional self executing language , basic limitation of
powers and remedial mechanisms of laws in place are collect-

ively made moot in the state of Florida.

Simply put , one of the most protected occupations from
illegal regulating has somehow become the most illegally

regulated occupations in the history of the state.

8.) Plaintiff now cites and list the following EXHIBITS which
each and all are prima facie illegal municipal regulations that

directly effect and illegally regulate plaintiffs occupation.

EXIBIT 1 CITY OF SANIBEL
EXIBIT 2 CITY OF SANIBEL
EXIBIT 3 CITY OF PORT RICHEY
EXIBIT 4 CITY OF PORT RICHEY
EXIBIT 5 CITY OF PLANTATION
EXIBIT 6 CITY OF PLANTATION
EXIBIT 7 CITY OF PLANTATION

EXIBIT 8 CITY OF PARKLAND
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02

8.) (cont. )

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

Bxibit

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

EXIBIT

9

10

11

12

13

14

1%

16

17

32

33

34

CITY OF PARKER

CITY OF PANAMA CITY
CITY OF PALMETTO

CITY OF PALMETTO

CITY OF ORMOND BEACH
CITY OF LANTANA

CITY OF LAKE WORTH
CITY OF JACKSONVILLE BEACH
CITY OF VERO BEACH
CITY OF VENICE

CITY OF VENICE

CITY OF VALPARAISO
CITY OF TITUSVILLE
CITY OF TITUSVILLE
CITY OF TAMPA

CITY OF TAMPA

CITY OF SURFSIDE (Town of)
CITY OF STUART

CITYOF SATELITE BEACH
CITY OF ST. PETERSBURG
CITY OF " "
CITY OF " "

CITY OF " "

CITY OF " "

CITY OF GULFPORT

we Ww

Page 8 of 96 PagelD 8
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02

8.) (cont.)
EXIBIT 35 CITY OF
EXIBIT 36 CITY OF
EXIBIT 37 CITY OF
EXIBIT 38 CITY OF
EXIBIT 39 CITY OF
EXIBIT 40 CITY OF
EXIBIT 41 CITY OF
EXIBIT 42 CITY OF
EXIBIT 43 CITY OF
EXIBIT 44 CITY OF
EXIBIT 45 CITY OF
EXIBIT 46 CITY OF
EXIBIT 47 CITY OF
EXIBIT 48 CITY OF
EXIBIT 49 CITY OF
EXIBIT 50 CITY
EXIBIT 51 CITY OF
EXIBIT 52 CITY OF
EXIBIT 53 CITY OF
EXIBIT 54 CITY OF
EXIBIT 55 CITY OF
EXIBIT 56 CITY OF
EXIBIT 57 CITY OF
EXIBIT 58 CITY OF
EXIBIT 59 CITY OF

EXXEXEXERXXEXITXXBE

GULFPORT

TREASURE ISLAND

TARPON SPRINGS

SAFETY HARBOR

MADERIA BEACH

OLDSMAR

CLEARWATER

INDIAN ROCKS BEACH

LARGO

COCOA

BRADENTON

BRADENTON BEACH

BAY HARBOR ISLANDS

KEY COLONY BEACH

ANNA MARIA

OFHIGHLAND BEACH

COCOA BEACH
GOLDEN BEACH
FLAGLER BEACH
CORAL SPRINGS
FT. MEYERS
DEERFIELD BEACH
DANIA BEACH
PANAMA CITY

MIAMI

Page 9 of 96 PagelD 9
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 10 of 96 PagelD 10
*.) (cont.)

EXIBIT 60 COUNTY OF PASCO
EXIBIT 61 COUNTY OF HERNANDO
EXIBIT 62 COUNTY OF SARASOTA
EXIBIT 63 COUNTY OF " "
EXIBIT 64 COUNTY OF PINELLAS
EXIBIT 65 COUNTY OF SANTA ROSA
EXIBIT 66 COUNTY OF CITRUS
EXIBIT 67 COUNTY OF DADE
EXIBIT 68 COUMTY OF MANATEE
EXIBIT 69 COUNTY OF PALM BEACH

EXIBIT 70 COUNTY OF " "

NOTE : There are approximately two hundred and seventy (270) muni-
cipalities bordering the saltwaters of Florida. This cause before
the court cites only fifty-three (53) of the 270 . We ask the court
to believe , as we do , that there are many more illegal ordinances
(municiple) out there , many more . Plaintiff collected the illegal
ordinances listed in the complaint from online muni.code and from
a variety of commercial fishers from around the state who also know
that they cannot be regulated by municipalities, but like plaintiff,
cannot overcome the large out of controlness of this great wrong.
Plaintiff has brought the court 53 defendent municipalities
who have promulgated 70 illegal regulations ; there are over 200
more municipalities bordering the saltwaters of Florida. The out-
standing average suggest that there , in all probability , there
are at least another couple of hundred illegal regulations out there.
We do not have the resources to detect for exposing or to

investigate the whole state.
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 11 of 96 PageID 11

9.) This is no ordinary injunction before this court even this

court cannot put an immediate end to this great wrong by the mere
issuing of injunction. This cause is to widespread , to out of

control and complex. Intervention from this courts authority to
correct this wrong could take up to a year, and we move the court
to make parties to this cause , the state of Florida , the F.F.W.
c.C. the Fla. Atty. General and compel them to clean up this mess

they have allowed.

(10) Therefore plaintiff prays this court for injunctive relief
in any manner the court sees fit because plaintiff is overwhelmed

and pro se and running out of ways to sound like a lawyer.

(11) That the court consider the damages done for recovery pur-
poses to plaintiff and more for the entire industry , the whole-
salers , the retailers , the each and every licensed fisher in
the State of Florida --- and to here argument and consider how

notified the State of Florida was , and did nothing.

Sincerely,

CUerQNGhenr

Clifford Cohoon , pro se

P.O. Box 55642
St. Petersburg, Fla.
33732 - 5642

I hereby certify that a true and
correct copy of the foregoing has

been furnished to the each and every

defendent by MC lass, US. Mae
this (% pay of _Sephs 2002.

C. Cohoon

Cider d Cob cpm

Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 12 of 96 PagelD 12

" EXIBITS "

Y' Or- Cy -/¢4.7-T- 26 TEM

1.) These represent EXIBITS 1 thru 70 that match by

municipalitie and number the EXIBITS contained in complaint.
Each and every one a local ordinance that illegally

regulates commercial fishing , beyond scope of powers.

2.) That EXIBIT number 2 has been dropped from complaint.

3.) That copies of all the exibits have been furnished to

defendents , STATE OF FLORIDA . F.F.W.C.C. and Atty. General,Fla. .

That all other defendent municipalities have been furn-
ished just the EXIBITS or illegal ordinances that they are being

sued for,
NextPdga3dveRiblishO1677-RAL Document1 Filed 09/16/02 Page 13 of 96 PagelPage | of |

Sec. 74-96. Use of cast nets from city fishing pier or city public boat ramp facilities
prohibited.

(a) It is untawful for any person to use cast nets, hand-held or otherwise, for fishing from the city pubiic
fishing pier.

(b) It is unlawful for any person to fish, or to use cast nets, hand-held or otherwise. for fishing within 100 feet
of the city public boat ramp facility.

(Code 1981, § 13-10)

eXtOIT A
belonging To _
CNY OF SANIBEL

Cg

http://livepublish. municode.com/8/Ipext.dll/Infobase6/1/13c1/1487/1488?f=templates&fn=dou... 8/30/02
NextPage, Lavehublishoi677-RAL Document1 Filed 09/16/02 Page 14 of 96 PagelBagg | of !

Sec. 46-47. Same—Fishing.

(a) Commercial fishing. No person in the park shall engage in any commercial fishing, or the buying or selling
of fish caught in any waters.

(b) Fishing in bathing areas. No person shail fish in any waters in the park where bathing is permitted.

(Code 1977, § 9.5-32)

EXIGIT 3

Coty of Pom Rauchox.,

bc

http://livepublish.municode.com/7/lpext.dli/Infobase39/1/1045/1088/10ca?ftemplates&fn=d«... 8/30/02
Nextag LAvE'GPLS01677-RAL Document1 Filed 09/16/02 Page 15 of 96 PagelB*es | OF!

Sec. 46-80. Recreational activities--Fishing.

{a) Commercial fishing. No person in the park shall engage in any commercial fishing, or the buying or selling
of fish caught in any waters.

(b) Fishing in bathing areas. No person shall fish in any waters in the park where bathing is permitted.

{Code 1977, § 9.5-61)

EXIBIT +
CivY oF PORT RICHEY

Ce,
http://livepublish. municode.com/7/Ipext.dil/Infobase39/ 1/1045/10e4/111b?ftemplates&fn=di.. 8/30/02
NextPage,béeveRublisho1677-RAL Document1 Filed 09/16/02 Page 16 of 96 Page|Bage ! of |

Sec. 15-35. Placing of traps or nets.

it shall be unlawful for any person or corporation to place traps, baskets or nets in the tidal waterways to catch
fish, shrimp, crabs or any other marine life for commercial purposes.

(Code 1964, § 26A-2(m))

http://livepublish.municode.com/7/Ipext.dll/Infobase37/1/1 1b0/1 1d9/1238?f=templates&fn=d... 8/30/02
NextPagebaveRublish01677-RAL Document1 Filed 09/16/02 Page 17 of 96 PagelBagg | of |

Sec. 15-34. Commercial fishing vessels.

It shall be unlawful for any vessel to be used for commercial fishing, shrimping, crabbing or lobstering within the
tidal waterways of the city.

(Code 1964, § 26A-2(1))

EXIBIT
Cota of Plater

CAL:

http://livepublish. municode.com/7/Ipext.dIl/Infobase37/1/11b0/1 1d9/1235?f=templates&fn=d.... 8/30/02

NextPagadaveRibiishO1677-RAL Document1 Filed 09/16/02 Page 18 of 96 PagelBage | of |

Sec. 15-117. Restriction on fishing in residential areas.

It shail be unlawful for any person to fish from any lake, canal or waterway or their banks which are adjacent and
abut residential homesites (including multifamily residential developments) from sundown to sunrise.

(Code 1964, § 17-10.01)

Cross references: Offenses, Ch. 17; Zoning, Ch. 27.

EXIGMT 7
ay of Plarlahmn,

http://livepublish.municode.com/7/{pext.dll/Infobase37/I/1 1b0/135b/1360?f=templates&in=d... 8/30/02

NextPage-LiveByblisihi677-RAL Document 1 Filed 09/16/02 Page 19 of 96 PagelLPage | of |

Sec. 11-3. Fishing and hunting prohibited.

It is prohibited for any person, other than a resident or property owner of this city and their guests, to either fish or
hunt with a rifle, shotgun or airgun within the limits of this city.

(Ord. No. 8, § 1, 4-25-66)

EXI6IT 8

http://livepublish.municode.com/22/Ipext.dil/Infobase27/1/7ad/7bf/7c6?f=templates& fn=docu... 8/30/02

NextPagegaveRubligho1677-RAL Document1 Filed 09/16/02 Page 20 of 96 Pagel Bagg | of |

Sec. 86-35. Regulation within restricted areas.

Within any restricted area, the council may, by resolution, regulate or prohibit boating, water skiing, swimming,
fishing, and other activities and may regulate the speed and manner of operation of motorboats. Any restricted
area so designated shall be clearly marked by buoys or some ather distinguishing device, and no person shall
operate a vessel or carry on any prohibited activity within that area.

(Ord No. 73-65, § 5, 8-7-73)

State constitution references: Game and fresh water fish commission, art. IV, § 9.

State law references: State preemption of power to regulate saltwater fishing, exception, F.S. § 370.102: local
regulation of commercial and recreational fishing operations, F.S. § 370.1103(4).

Secs. 86-36--86-70. Reserved.

EXIBIT 4
Cty of Pan ar

http://livepublish. municode.com/7/lpext.dll/Infobase30/1/dd3/dec/df9?f=templates&fn=docun... 8/30/02

NextPagegaveRubligho1677-RAL Document1 Filed 09/16/02 Page 21 of 96 PagelBaze | of |

Sec. 6-3. Commercial salt water fishing prohibited.

it shal} be unlawful for any person to engage in the business of catching fish for resale or commercial purposes in
any of the several salt water lakes and bayous within the city.

(Code 1982, § 6-3)
Cross references: Licenses, taxation and miscellaneous business regulations, Ch. 15

State law references: Regulation of salt water fishing by municipalities, F.S. § 370.102.

EX|61T 40
Panga, Ct

http.//livepublish.municode.com/7/lpext.dll/Infobase4 8/ | /e13/e3b/e43?f=templates& fn=docur... 8/30/02

Next RB Sco F63°U91677-RAL Document 1 Filed 09/16/02 Page 22 of 96 PagelD’3er | ot !

Sec. 10-98. Fishing restricted in Manatee River.

it shall be unlawful for any person to throw or release into the water of the Manatee River any net or nets,
commonly known as a cast net, for the purpose of catching fish, upon or from the municipal pier, or the approach
leading to the pier, at the foot of Tenth Avenue.

(Code 1975, § 17-9)

EX\@IT 14

http://livepublish. municode.com/7/Ipext.dll/Infobase28/1/876/8ce/ 8de?f=templates&fn=docur... 8/30/02
NextPagageveibliishO1677-RAL Document1 Filed 09/16/02 Page 23 of 96 PagelB2@ | of |

Sec. 25-56. Designation of "areas of regulated water activities."
The following areas are hereby designated as areas of regulated water activities:

(1) All waters within three hundred (300) feet (100 yards) offshore from all beaches and shorefront
bathing areas, whether or not so designated with appropriate signs;

(2) All waters within three hundred (300) feet (100 yards) from any marina, dock, pier, mooring,
seawalls used as docking facilities, or similar landing facility used primarily for watercraft or water oriented
activity such as fishing, whether or not so designated for such purpose by appropriate signs:

(3) Any area designated as an official "No wake-idle speed only” area which is so posted in such a
manner and placed that it may be reasonably expected to be seen and read by a person in operation of a
vessel within the area; and

(4) Any other area that may be so designated by the city council of the City of Palmetto according to
the procedures set forth in section 25-58 of this article.

(Ord No. 565, § 7, 8-19-96)

EXIBIT [2

x

http://livepublish.municode.com/7/lpext.dll/Infobase28/1/145b/14b9/14d5?f=templates&fn=d... 8/30/02
NextP4gedei vePubtish01677-RAL Document1 Filed 09/16/02 Page 24 of 96 PagelIPae | of 3

EXIBIT 13 (3 paged
City of Ormoard Beach

(1) No person, regardless of age or manner of dress, shall swim, bathe or wade in any waters or
waterways in or adjacent to any city-owned lands, except the Atlantic Ocean or in such other waters and
at such places as are provided therefor, and in compliance with such regulations as to hours of the day
and safety limitations for such use as may be established by the city manager or his designee. Areas
where swimming is permitted will be designated by official signs and markings.

Sec. 15-6. Recreation activities.

{a) Bathing and swimming.

(2) No person shall erect, maintain, use or occupy on or in any beach or bathing area any tent, shelter
or structure of any kind, unless there shall be an unobstructed view into such structure from at least two
(2) sides; nor shall any exterior support or brace be connected from any such structure to any other
structure, stake, rock or other object outside thereof.

(3) {n every bathing area, all persons shall be clothed so as to prevent any indecent exposure of the
person. All bathing costumes shall conform to commonly accepted standards at ail times. No person shall
dress or undress on any beach, in any vehicle, restroom or other place in any park, cultural or recreation
area, except in such bathhouses or structures as may be provided by the city for that purpose.

(4) The washing of persons or objects, with or without soaps or other cleansers, is prohibited in bathing
and swimming areas and on beaches thereof.

(5) Domestic animals are prohibited on bathing beaches and in the waters of swimming areas.
(b) Boating.

(1) No person shail bring into or operate any boat, yacht, cruiser, canoe, raft or other watercraft (except
toys), regardless of means of propulsion, upon any park watercourse, bay, lagoon, lake, canal, pond or
slough, except at places designated by the city for such purposes. Operations shall comply with this
chapter,

(2) No watercraft shall be launched into or removed from any park waters. except at places designated
for such purpose by the director.

(3) Every boat operated in waters of parks shall have minimum safety equipment specified in Section
327.50, Florida Statutes.

(4) No person shall consume any alcoholic beverages on any boat using public facilities in park waters.
(5) Personal watercraft:

a. As.used in this section, "personal watercraft" shall mean a vessel less than sixteen (16) feet
in length which uses an inboard motor powering a water jet pump, as its primary source of motive
power and which is designed to be operated by a person sitting, standing, or kneeling on the
vessel, rather than in the conventional manner of sitting or standing inside the vessel.

b. The use and operation of personal watercraft shall be permitted on the following water
bodies within the city:

1. The Atlantic Ocean, in strict compliance with the Volusia County Unified Beach
Code;

2. The Halifax River, excluding any canal or tributary connecting thereto;
3. The Tomoka River, excluding any canal or tributary connecting thereto

c. A person may not operate a persona! watercraft unless each person riding on or being
towed behind such vessel is wearing a type |, type II, type III or type V personal flotation device
approved by the United States Coast Guard.

http://livepublish. municode.com/7/Ipext.dll/Infobase | 8/1/159e/15a5/15eb?f=templates&fn=dc... 8/30/02
NextPagegdaveRublisho1677-RAL Document1 Filed 09/16/02 Page 25 of 96 PagelBags = ot 3

d. Aperson operating a personal watercraft equipped by the manufacturer with a lanyard-type
engine cutoff switch must attach such lanyard to his person, clothing or personal flotation device
as is appropriate for the specific vessel.

e. Aperson may not operate a personal watercraft at any time between the hours from one-half
{ 1/2) hour after sunset to one-half ( 1/2) hour before sunrise.

f. A personal watercraft must at all times be operated in a reasonable and prudent manner.
Maneuvers which unreasonably or unnecessarily endanger life, limb or property including, but not
limited to, weaving through congested vessel traffic, jumping the wake of another vessel
unreasonably or unnecessarily close to such other vessel or when visibility around such other
vessel is obstructed, and swerving at the last possible moment to avoid collision shall constitute
reckless operation of a vessel, as provided in Section 327.33(1), Florida Statutes.

g. No person under the age of fourteen (14) shall operate a personal watercraft on the waters
of this city.

h. It is unlawful for the owner of any personal watercraft or any person having charge over or
controt of a personal watercraft to authorize or knowingly permit the same to be operated by a
person under fourteen (14) years of age in violation of this subsection. Any person who violates
this subsection shall be guilty of a misdemeanor of the second degree, punishable as provided in
Section 775.082 or Section 775.083, Florida Statutes.

i. This subsection does not apply to a performer engaged in a professional exhibition or a
person preparing to participate or participating in a regatta, race, marine parade, tournament or
exhibition held in compliance with Section 327.48, Florida Statutes.

j. Other than those areas specified in subsection (b)(5)b. herein, no person may use or aperate
any personal watercraft on any body of water whatsoever, or any wetland area adjacent thereto,
within the corporate limits of the city.

(c) Fishing.
(1) Commercial fishing or the buying or seiling of fish caught in any park waters is prohibited.

(2) Fishing is allowed in park waters, by any legal method, except where prohibited by the city. Any
device which is employed to remove, capture or attempt to capture fish in any waters not declared open
to fishing or any device otherwise used in violation of this chapter is declared a nuisance and may be
seized and confiscated by city personnel or law enforcement officers.

(3) The possession and use of poisons, electrical charges, explosives, spear guns and similar methods
for the taking or killing of fish are prohibited in park waters.

(d) | Hunting and firearms. Hunting, trapping or the pursuit of wildlife is prohibited on all park property. No
person, other than law enforcement officers in the performance of their duties, shall use, carry or possess in any
park firearms of any description, air rifles, spring guns, bows and arrows, gigs, slingshots or any other forms of
weapons potentially inimical to wildlife and dangerous to human safety. Further prohibited are all instruments that
can fire any kind of cartridge and any trapping devices. Shooting into park areas from beyond park boundaries is
prohibited. Any device, such as above enumerated, which is employed to kill, immobilize or capture any wildlife or
any device otherwise used in violation of this chapter is declared a nuisance and may be seized and confiscated
by city personnel or law enforcement officers.

(@) Picnicking.

(1) No picnicking shall occur in any park areas except such as are designated for that purpose. City
personnel will regulate usage of such areas when required to prevent congestion and to secure the
maximum comfort and convenience of all. Visitors shall comply with instructions given to achieve this
objective

(2) Use of the picnic area facilities, including picnic shelters, individual fireplaces, tables and benches,
generally follows the rule of "first-come, first-serve." However, this practice shall not preclude the director

http://livepublish. municode.com/7/Ipext.dil/Infobase | 8/1/159e/15a5/15eb?f=templates&fn=dc.. 8/30/02
NextPaggdayeRyblisho1677-RAL Document1 Filed 09/16/02 Page 26 of 96 Pagel ayy 3 ot 3

from assigning or reserving these facilities for the use of particular persons or groups. The director shail
have authority to assess a fee for such usage.

(3) No person shall use any portion of a picnic area or of any structures therein for an unreasonable
time if the facilities are crowded. The determination of what is unreasonable will be made by city
personnel.

(4) To maintain cleanliness and to reduce fire hazards, each picnic party shall completely extinguish
any fire and piace all refuse, waste and trash in disposal containers where provided. If there are no such
containers immediately available, then refuse shail be carried away by the user of the picnic facility and
disposed of elsewhere.

(f} Games. No person shall participate in any game or activity involving thrown or otherwise propelled objects
except in such areas designated by the city for such forms of recreation. Roller skating and skateboarding are
prohibited, except in areas specifically assigned for such activity.

(g) Horseback nding. Horseback riding is forbidden in parks, except in specifically designated areas where
provision has been made through the establishment of bridle trails and other necessary facilities. Where so
provided for and permitted, horses shall be thoroughly broken and properly restrained and ridden with due care.
Horses shall not be allowed to graze or go unattended, nor shall they be hitched to any tree, plant or rock.

(fh) Skin or scuba diving. Skin or scuba diving is prohibited, except in areas designated by the director for that
purpose.

(Ord No. 90-62, § 1, 11-6-90; Ord. No. 2000-53, § 1, 1-3-01)

http://livepublish.municode.com/7/lpext.dIl/Infobase | 8/1/159e/15a5/15eb?f=templates& fn=dc... 8/30/02
NextPagakéveRiblishO1677-RAL Document1 Filed 09/16/02 Page 27 of 96 PagelBagé | of |

Sec. 5-42. Certain net fishing prohibited.

It shall be unlawful for any person to take fish from the waters within the town by using any net larger than eignt
(8) feet in diameter.

(Code 1962, § 16-

EXIBIT 14
Cy of Aartena

http://livepublish. municode.com/6/Ipext.dll/Infobase 1 3/1/2bd/2e1/314?f=templates&fn=docu... 8/30/02

NextPagabaveRiblishO1677-RAL Document1 Filed 09/16/02 Page 28 of 96 PagelBage | of |

Sec. 15-33. Net fishing.

(a) It shall be unlawful for any person to take fish from the waters within the city limits by using any net larger
than twelve (12) feet in diameter.

(b) It shall be unlawful for any person to fish by using a net from the abandoned oid bridge structure located
just north of State Road 802.

(Ord. No. 79-15, § 1, 8-6-79; Ord. No. 91-5, § 1, 4-15-

Exiepit 15
Cty of Sake lLomtih,

http://livepublish.municode.com/6/lpext.dll/Infobase | 1/1/f8d/f93/105e?f=templates&fn=docu... 8/30/02

NextP apace @:Ba@biist01677-RAL Document1 Filed 09/16/02 Page 29 of 96 PagelD’&®& | of |

Sec. 6-54. Fishing with seine or net.

(a) It shail be unlawful for any person to use or employ the use of any seine or net in excess of two hundred
(200) feet in length for the catching of fish or other forms of marine life out of the waters of the Atlantic Ocean
between the city limit line on the north and the city limit line on south as extended easterly into the Atlantic Ocean

(b) This section shalt not be construed to authorize any use of seines or nets which may be prohibited by the
iaws of the state.

(Code 1955, § 16-28; Ord. No. 7413, § 1, 6-5-

Sec. 6-55.

Editor's note: Ord. No. 7438, § 3, adopted Dec. 4, 1989, repealed Ord. No. 7419, adopted July 10, 1989, which
enacted provisions concerning jet skis designated as § 6-55.

BXIGIT 16_
Coby f Yankaonrdble, Beary

http://livepublish. municode.com/5/Ipext. dll/[nfobase40/1/7a8/8 1d/83b?f=templates&tn=docut... 8/30/02

NextPagegaveRublisho1677-RAL Document1 Filed 09/16/02 Page 30 of 96 PagelBage | of |

Sec. 31.10. Seines and nets.

it shall be unlawful for any person to use seines or gilinets for catching fish in any canal, creek, navigable
channel, anchorage, or tuming basin, or within 300 feet of any seawall, boat dock, or developed shoreline, or in
the area between 300 feet north of the Merrill Barber Bridge and 300 feet north of the 17th Street Bridge.

(Ord. No. 84-26, § 1, 10-16-84; Ord. No. 90-04, § 1, 1-16-90)

E XIBIT 17
Cty of Vero Bead

http:/ivepublish.municode.com/8/Ipext.dll/Infobase43/1/8c9/923/957?f=templates&fn=docul.., 8/30/02
NextPagadaveRubligho1677-RAL Document1 Filed 09/16/02 Page 31 of 96 PagelBage | of |

Sec. 46-111. Fishing with nets or seines near dock, bulkhead or

No person shall fish with or cause to be fished with, or use or cause to be used for the purpose of taking fish,
any gill net, mackerel net, haul net, drag net, stop net, perse seine or perse net, traw!, beam trawi, stow net,
draw net, bag net, drift net, dredge net or other form or kind of net or seine, except a cast net or a common

minnow net not more than 50 feet in length and four feet in depth, in the fresh or salt water within the city within
100 feet of any dock, bulkhead or shoreline or within 500 feet of the municipal fishing pier.

(Code 1982, § 13-45)

EXIBIT 18

Coiy of Vemncce

http://vepublish.municode.com/8/lpext.dll/Infobase42/1/694/759/75£/760? f=templates&fn=d... 8/30/02

NextPagagdaveRublishO1677-RAL Document1 Filed 09/16/02 Page 32 of 96 PagelBage | of |

Sec. 46-112. Fishing with nets or seines from bridges.

No person shail use any kind of net, seine or similar device from any of the bridges owned by or located within
the city for the purpose of catching or taking any kind of fish.

(Code 1982, § 13-46)

EXIGIT 14

Cok of Vente

http://livepublish. municode.com/8/Ipext.dll/Infobase42/1/694/759/75£/763? f=templates&fn=d... 8/30/02

NextPagrbev ePublish.01677- aun Document 1. Filed 09/16/02 Page 33 of 96 pagelbaae | of |

Sec. 134-3. Restricted areas.

For purposes of promoting public safety, the chief of police shall establish restricted areas for boating, skiing and
swimming and shall cause to be posted such areas in a manner to allow the maximum use of the waters with the
least danger, and no person shall use such posted waters in a manner contrary to the restrictions posted by the

city
(Code 1966, § 5-3)

EXIBIT 20
Coby of Val poreioe

http://ltvepublish.municode.com/8/Ipext.dll/Infobase4 1/1/1£78/1 £8d/1f94?f=templates&fn=do... 8/30/02

NextPagrabiy €POblish-01677-RAL Document1 Filed 09/16/02 Page 34 of 96 PagelPagell of |

Sec. 12-7. Fishing—Municipal pier.

No person shall fish or attempt to fish, or catch any fish, within one hundred (100) feet of tne Titusville Pier,
sometimes known as Municipal Fishing Pier, being a portion of the old bridge with any gig, spear, snatch-hook,
gill net, seine or any other net.

(Code 1963, § 15-10)

EXielT 2

Cty of Teck

http //livepublish.municode.com/2 I/Ipext.dil/Infobase7/1/1044/1063?f=templates&fn=docum... 8/30/02
NextPagesbivePublisho1677-RAL Document1 Filed 09/16/02 Page 35 of 96 PagelPags ! of |

Sec. 12-8. Same—Sand Point and yacht basin.

it shall be unlawlul for any person to set any gill net, tramme! net or seine within the bulknead line on Sand Point,
that is to say, westerly of such bulkhead. It shall be unlawful for any person to set any gill net, trammel net or
seine within two hundred (200) feet of the entrance to the yacht basin on Sand Paint in the city. It shall be

unlawful for any person or persons to set any gill net, ttammel net or seine within the yacht basin located on
Sand Paint in the city.

(Code 1963, § 15-11)

SXIBIT Qa
COM of tea niQde,

http://livepublish.municode.com/2 !/Ipext.dll/Infobase7/1/1044/1066?ftemplates&fn=docum:.. 8/30/02

NextPapedei veBabiisi01677-RAL Document1 Filed 09/16/02 Page 36 of 96 Pagel’ ae | of |

Sec. 16-117. Use of nets restricted.

{ft is unlawful for any person to use, set or place any net within the waters of the city yacht basins or in the
entrances of the city yacht basins nor shall any person set or place any net in such a position as to in any manner
obstruct the entrances to the city yacht basins. This section shall not apply to the use of ordinary cast nets, which
cast nets are controlled by a rope or line attached thereto.

(Ord. No 89-240, § 2(26-112), 9-28-89)

Cross references: Fishing with seine, gill or stop nets prohibited, § 14-215.

EX|IBIT 23

Catal Tams pa

http://livepublish.municode.com/8/Ipext.dll/Infobase35/1/20c8/2 19c/2 1d1?ftemplates&fn=d«.. 8/30/02

NextPagedseyePablish-01677-RAL Document1 Filed 09/16/02 Page 37 of 96 Pagelfag7! of |

Sec. 14-216. Fishing and crabbing; prohibited in certain areas.

{t 1s unlawful for any person to fish and/or crab on or from the Platt Street Bridge. the Davis Islands Bridge
connecting Davis Islands with Bayshore Boulevard, the Marjorie Park Yacht Basin, the municipal boat slips and
landings abutting Bayshore Boulevard between the Platt Street Bridge and Davis Islands Bridge, and Bayshore
Boulevard between Platt Street Bridge and Gandy Avenue, including the alcoves, boat landings, seawall and
railing appurtenant thereto; except that fishing and crabbing will be permitted at that portion of the seawall
between the Platt Street Bridge and Davis Islands Bridge which extends into the waters of Hillsborough Bay and
other designated areas.

(Ord. No. 89-238, § 2(24-162), 9-28-89: Ord. No. 91-03, § 1, 1-3-91; Ord. No. 91-114, § 5, 7-18-91)
Note: See the editor's note at § 14-214.

-EX|6BIT AY
CS of Toumpar

http://livepublish.municode.com/8/Ipext.dll/Infobase3 5/1/1c7f/lecb/1f4c?f=templates&fn=dor.... 8/30/02

NextPafebév6P0BblishO1677-RAL Document1 Filed 09/16/02 Page 38 of 96 PagelBagé | of |

Sec. 86-2. Prohibitions on fishing.

No person shall fish from any public property at any time; provided, however, surfcasting between the hours of
8:00 p.m. and 8:00 a.m. from a public beach shall be permitted.

(Code 1960, § 13-33.1(c): Ord. No. 1354, § 2, 9-12-95; Ord. No. 1375, § 2, 8-12-97)

Secs 86-3--86-25. Reserved.

EXIBIT &S

http://livepublish. municode.com/8/lpext.dll/Infobase3 1/1/10ee/1105/110b?ftemplates&fn=d«... 8/30/02

NextPagetevelobleshO1677-RAL Document 1 Filed 09/16/02 Page 39 of 96 PagelBagg ! of |

Sec. 58-28. City piers and riverwalks.
{a) Prohibited conduct; unlawful acts. No person shall:
(1) Dive or jump from piers or riverwalks.

(2) Bring or allow pets of any kind on piers unless the pets are maintained on leashes not to exceed six
feet

(3) Possess, consume or serve any alcoholic or intoxicating beverages on or under piers or riverwalks
except for special events for which a city permit has been obtained pursuant to the application procedures
set forth in section 58-30.

(4) Use railings or benches on piers or riverwalks for cleaning or cutting bait or fish.
(5) Fish with more than two lines or poles at one time on piers or riverwalks.
(6) Bed down or sleep on or under the piers or riverwalks.

(7) Use profane, obscene or threatening language or conduct on or beneath any pier or riverwalk area
which unreasonably interferes with the use of the pier or riverwalk by others.

(8) Litter the piers, riverwalks or surrounding areas.
(9) Post notices except in designated areas.
(10) Push, propel or ride bicycles, scooters, skates or skateboards on piers or riverwalks.

(11) Use traps, nets, seines or other trapping or netting devices on the piers except where specifically
designated by the city manager as allowable.

(12) Operate a concession; peddie, solicit, sell any articles or merchandise in any park without written
prior approval of the city manager or his designee.

(b) Signage. The city manager is empowered and authorized to regulate the safe use of piers and riverwalks
within the context of this article by erecting or placing of signs regulating such use and hours of use. The
existence of such signs at any place within the city shall be prima facie evidence of such signs were erected or
piaced with the authority of the city manager.

(c) Violations and penalties.

(1) Violations of subsections (a)(3), (a)(6) and (a\(7) of this section are punishable as provided in
section 58-27(d)(1).

(2) Violations of subsections (a)(1}, (a}(2), (a)(4), (a)(5) and (a}(8) through (a)(12) of this section are
punishable as provided in section 58-27(d)(2).

(d) Parental liability. Parents shall be held liable for conduct of their minor children.

(Code 1981, § 11.5-4)

EXIBIT 26
Cok, of Stack

http://livepublish.municode.com/8/Ipext.dll/Infobase28/1/e26/e4 I/e6b? f=templates&fn=docur... 8/30/02

NextPagedseePulilisty-01677-RAL Document1 Filed 09/16/02 Page 40 of 96 PageHageol of |

Sec. 66-1. Fishing from manmade residential canals restricted.

It shall be unlawful for any person to catch or take fish from the following manmade saltwater residential canals
by means other than hook-and-line or cast net thrown by hand:

(1) The dredged canal lying between Cinnamon Court and Kenwood Court.

(2) The dredged canal lying between Kenwood Court and Redwood Court

(3) The dredged canal lying between Redwood Court and Barcelona Court.

(4) The dredged canal lying between Barcelona Court and Fountains Boulevard.

(5) The dredged canal lying between Fountains Boulevard and Seville Court.

(6) The dredged canat lying between Seviile Court and right-of-way designated as future Canal Street.
(7) The dredged canal lying between future Canal Street and Grant Court.

(8) The dredged canal lying between Grant Court and right-of-way designated as future Anderson
Court.

(9) The dredged canal lying between future Anderson Court and Jackson Court.
(10) The dredged canai lying between Jackson Court and South Hedgecock Square.
(11) The dredged canal lying between North Hedgecock Square and Mark and Randy Drive.

(12) The dredged mosquito contro! canal (Grand Canal) from the northern city limits to the southern city
limits.

(13) Those canals lying north and south of that area known as Samsons Park.
(14) The dredged canal lying between the southern city limits and Cinnamon Court.
(Code 1976, § 14-19)

State law references: Saltwater fishing, F.S. ch. 370.

Secs 66-2--66-30. Reserved.

EXIBIT 2&7

http://livepublish. municode.com/8/Ipext.dil/Infobase | 2/1/let7/1£22/1£23?ftemplates&fn=do.. 8/30/02
Locum @ab802-cv-01677-RAL Document 1 Filed 09/16/02 Page 41 of 96 PagelD 41Page | of 2

—~ CODE City of ST PETERSBURG FLORIDA Codified through Ord. No. 517-G adopted Jan 3 2002.
(Supplement No 21)
Chapter 7 BOATS. BEACHES AND WATERWAYS"

ARTICLE! IN GENERAL

EXIBIT 28 (a paces)

ARTICLE |. IN GENERAL
Sec. 7-1. Definitions.

The following words, terms and phrases, when used in this chapter, shall have the meanings ascribed to them in
this section, except where the context clearly indicates a different meaning:

Bathe means to swim, stand, wade or be in the water or use the water for any recreational purpose.
Boat ramp means a designated area used for launching and retrieving vessels or watercraft.

City waters means all waters or waterways located within the limits of the City.

Commercial vessel means the same as defined in F.S. § 327.02(3).

40th Avenue Bridge means the bridge which crosses over Placido Bayou onto Shore Acres.

Pier or dock means a structure or platform used for the purpose of securing, loading or unloading a vessel or
watercraft

Shore Acres Bridge means the bridge which connects Overlook Drive Northeast and Snell Isle Boulevard
Northeast at Smacks Bayou.

Snell Isle Bridge means the bridge which crosses Coffee Bayou at Snell Isie Boulevard.

Wharf or wharves means docks, piers, boat ramps and other designated areas used for the purpose of
launching, retrieving, loading or unfoading watercraft or other activities primarily related to recreational boating.

(Code 1973, § 10-1)

Cross references: Definitions and rules of construction generally, § 1-2.

Sec. 7-2. Penalty.

it shall be unlawful for any person to violate or fail to comply with any of the terms or provisions of this chapter or
of any of the rules or regulations established by the City Manager by the use permits as provided in this chapter.
Any person convicted of such a violation shall, upon conviction, be punished as provided in Section 1-7.

(Code 1973, § 10-92)

Sec. 7-3. Use of public wharves.

(a) The public wharves of the City are for the public generally and no person shall use the public wharves of
the City except for the purpose of launching or retrieving boats thereon. No person shall use the public wharves
of the City for the purpose of storage of any matter except for such reasonable time as may be absolutely
necessary in the launching or retrieving of boats. Commercial vessels may only use the public wharves at the
following locations:

———(1) Crisp Park, at 36th Avenue North and Poplar Street, only between February 1, and September 30
of each year between 30 minutes before sunrise and 6:00 p.m. each day.

(2) Jungle Prada, at west end of 22nd Avenue North.

(3) Grand View, at Sixth Street and 39th Avenue South.

http //fws municode com/CGI-BIN/om_isapi dll?infobase=! 1602.nfo&softpage=newtestDocum. 6/11/2002
Locumen{gB8!62-cv-01677-RAL Document1 Filed 09/16/02 Page 42 of 96 PagelD 42°48 - o -

(4) Demen's, at east end of First Avenue South.
(5) Maximo Park, generally south of Frenchmen's Creek and west of 34th Street South

(b) No other public wharf may be utilized by any commercial vessel. Before using the above-listed public
wharves, the operators of commercial vessels must obtain a permit from the Department of Leisure Services
This use permit sticker must be affixed to the commercial vessel in the manner and location prescribed by the
City and must be visible at all times.affixed to the commercial vessel in the manner and location prescribed by
the City and must be visible at all times.

(c) Commercial vessels, their operators and persons on them must comply with all rules and regulations with
respect to the use of the permit sticker issued by the Department of Leisure Services and all City ordinances
and State laws. Failure to comply with or violation of any City ordinance or any of the terms or rules and
regulations of the use permit shall be a violation of this section and carry a penalty as provided in Section 1-7.

(d)} The use permit sticker may be revoked immediately upon the issuance of a notice to appear in County
Court for an ordinance violation and/or upon notice being given that there has been a violation of a rule or
regulation governing the permit sticker. Permit sticker revocations may be appealed by the permittee to the
Mayor and from the Mayor to City Council.

(Code 1973, § 10-15; Ord. No. 65-G, § 1, 12-17-92; Ord. No. 399-G, § 1, 8-5-99)
Sec. 7-4. Diving or jumping from pier.

It shall be unlawful for any person to dive or jump from any pier within the City when there shall be posted on the
pier a sign prohibiting the jumping or diving.

http //fws municode.com/CGI-BIN/om_isapi dll?infobase=1 1602 nfo&softpage=newtestDocum. 6/1 1/2002
aye iu.

DOCUM PEE FFBM)9 cy-01677-RAL Document1 Filed 09/16/02 Page 43 of 96 PagelD 43°
2007/0 FODE City of ST. PETERS Ey EAU OH SOR SSCS PHS SAH IOR Med T7Me Re An yf hes Sop mey//:dny

(Supplement No. 21)
Chapter 7 BOATS. BEACHES AND WATERWAYS*

ARTICLE I. IN GENERAL
Sec. 7-6. Prohibited fishing tackle.

EXxi@iT 24
Sec. 7-6. Prohibited fishing tackle. Ck 6h St. Ptraburs

It shall be unlawful for any person to use a snatch hook or a spear, gig or similar device, whether for the purpose
of taking fish or otherwise, from the Municipal Pier or from any public bridge in the City.

(Code 1973, § 10-6)
State law references: Fishing from state road bridges, F.S. § 316.1305.

Sec. 7-7. Blocking channels.

No person shall, by the deposit of trash, sand, stone or other material whatsoever, or in any other manner, block
or obstruct any channel or make unsafe the bottom of any portion of any bay or bayou within the City. This
section shall not be construed to prohibit the mooring of boats or barges at such places as may be approved by
the City Manager.

(Code 1973, § 10-14)

State law references: interference with navigation, F.S. § 327.44; placement of solid waste in waters, F.S. §
403.708(1)(a).

Sec. 7-8. Unlawful pumping of bilges or disposal of petroleum products.

No person shall pump the bilge of any watercraft into the waters of the Central, North or South yacht basins,
Port of St. Petersburg, Bayboro Harbor, including Salt Creek, or discharge any bunker "C” oil or any petroleum
by-products into the Central, North or South yacht basins, Port of St. Petersburg, Bayboro Harbor, including Salt
Creek, or any canals, lakes or waterways within the City.

(Code 1973, § 10-16)

State law references: Polluting waters, F.S. § 376.041.

Sec. 7-9. Littering.

(a) No person shall throw upon any beach, boat ramp, adjacent area or parking lot to any beach or boat ramp
‘any waste or refuse, or debris of any kind, nor shall any person leave upon such location any food, food scrap,
paper, container, carton, towel or any other article or object or debris of any kind.

(b) {t shall be unlawful for any person to dump or throw, or cause to be dumped or thrown, garbage, papers,
bottles, cans, refuse, petroleum products or other debris into any waterway within the limits of the City.

(Code 1973, §§ 10-26, 10-31)
State law references: Littering public waters, F.S. § 403.708(1)(a).

Sec. 7-10. Transporting gasoline.

No person shall transport any gasoline to or from any watercraft or dock except by a pipeline or in a closed
container.

(Code 1973, § 10-17)

http://fws.municode.com/CGI-BIN/om_isapi.dll?infobase=1 1602.nfo&record={ 7FC}&softpage... 6/11/2002

| JO | a8eq
VocuRenea BlH2-cy-01677-RAL Document 1 Filed 09/16/02 Page 44 of 96 PagelD 2F | % +
a

ZOOZ/S/S ~~ SBurpeoyy | [po=Aronbey I “| po=Aronbapeg|[p dest wWo/NIq-[D/woo apoorunu'smy//:dny

“PORE Sis Hi GT-RETERERURS. FRORIPA ese V RAR Oa MENUS. ARROYO FAIZ Pom

Supplemen
Chapter 7 BOATS, BEACHES AND WATERWAYS’
ARTICLE V. CITY YACHT BASINS

DIVISION 1. GENERALLY
Sec. 7-121. Restrictions on rowboats and canoes. E X| B iT 30

No person shall operate any rowboat or canoe in the Central or South Yacht Basin except for the sole
purpose of transportation from boat to boat or to and from dock to boat.

Sec. 7-121. Restrictions on rowboats and canoes.

(Code 1973, § 10-54)

Sec. 7-122. Signs on docks, slips and grounds.

No person shall place, erect or construct any signs on any of the docks, slips, or grounds in or adjacent to
the City yacht basins, unless the signs shall have the written approval of the Port Captain before erection,
and, where the signs are approved by the Port Captain, they shall be of a uniform type and character

(Code 1973, § 10-55)

Sec. 7-123. Trespass on docks or slips.

No person shall go upon the slips or docks of the City yacht basins except the lessee of a dock or slip, a
guest or authorized agent of the lessee or agent, persons in the employ of the City or persons having
legitimate business on the slips or docks.

(Code 1973, § 10-56)

Sec. 7-124. Trespass on watercraft.

It shall be unlawful for any person to trespass upon any watercraft docked or berthed in the City yacht
basins

(Code 1973, § 10-57)

Sec. 7-125. Use of spears or harpoons.

No person shall use any spear or harpoon within the confines of the City yacht basins or upon any pier
adjacent thereto

(Code 1973, § 10-58)

Sec. 7-126. Permit for sale and soliciting sale of bait.

It shall be unlawful for any person to sell or solicit the sale of any bait at wholesale or retail in or on any pier
or slip in or adjacent to the City yacht basins or within the confines of the area bounded on the south by
Fifth Avenue South, on the north by Fifth Avenue North and on the west by First Street North and South,
unless the person shall first obtain from the City Manager a written permit therefor The permit shall contain
and specify the place and location for the sale of bait and it shall be unlawful for any person holding a
permit from the City Manager for the sale of bait to sell any bait in any other place than that specified in the
|] npermuadeyg Ag Mora | MOA O8Ug = | AMJEA UB] OF WINDY apod ysayay as¥g snolaid fe

hitp://fws.municode-conveGl-BIN/om_isapi-diltadvquery=cdl .i&aquery=edi .|@headings.. 3/5/3003

aan
Docursyttsang2-cy-01677-RAL Document1 Filed 09/16/02 Page 45 of 96 Pagelb WS 7 9! +

<l Fis igysParfo.Syfreh Code Return to Main View! Page View! View By Chapter) Pnn !

Sec. 7-127. Use of nets and crab traps restricted.

No person shall use, set or place any net or crab trap within the waters of the City yacht basins or in the
entrances of the City yacht basin, except for hand-thrown mullet cast nets no greater than 12 feet in
diameter during those time periods and within those areas specifically designated by the Mayor The Mayor
shali designate areas from which the hand-thrown cast nets may be used and the time periods based upon
consideration of public safety, protection of public property, and maintenance of the flow of water craft
traffic and docking. Any such area designated as stated above shall be posted by signs in the area
designated. It shall be unlawful for any person to use or throw any cast net contrary to such posted
regulations

Nor shall any person set, place, or cast any net, or set or place any crab trap in such a position as to, in
any manner, obstruct the entrances to the City yacht basins.

(Code 1973, § 10-60; Ord No. 94-G, § 1, 5-6-93)

Sec. 7-128. Anchoring so as to obstruct channels.

No watercraft shall anchor in the entrance of fairways of the City yacht basins No watercraft or vessel shall
anchor or in any way stand idle while in the waters of the Central or South Yacht Basin.

(Code 1973, § 10-33)

Sec. 7-129. Anchoring in North Yacht Basin.

(a) Anchorage of any watercraft in the North Yacht Basin shall not exceed seven 24-hour periods in any
calendar month.

(b) At all times that a watercraft is anchored in the North Yacht Basin the master, owner or operator shall
be living aboard the watercraft.

(c) The master, owner or operator of all incoming watercraft shall comply with Section 7-147

(Ord No. 2000-F, § 1(10-61), 9-27-90)

-EXIBIT 3]
Cy of Ste Prob ung

Inte / fos munioode com CGLBINen isapi diMadhqueny=cdlll. IRagpeny=cdil IRineadimes... 3/5/2002
Documentigamg2-cy-01677-RAL Document1 Filed 09/16/02 Page 46 of 96 Pagel #8 | °! -

CODE City of ST. PETERSBURG, FLORIDA Codified through Ord. No. 517-G, adopted Jan. 3, 2002.

(Supplement No. 21)
Chapter 7 BOATS, BEACHES ANO WATERWAYS"

ARTICLE V. CITY YACHT BASINS
DIVISION 2. DOCKING FACILITIES GENERALLY

Sec. 7-154. Maintenance of watercraft. bE X (P ry < a

Secs 7-155--7-170. Reserved.
DIVISION 3. COMMERCIAL USES AND DOCKING

Sec. 7-171. Permit required to operate from or berth at City yacht basins.

No person shall operate or control any commercial boat or any boat used for commercial purposes from or
in the City yacht basins and no person shall dock or berth any commercial boat or watercraft or any boat or
watercraft used for commercial purposes in the City yacht basins without first having obtained a permit
therefor from the Port Captain.

(Code 1973, § 10-80)

Sec. 7-172. Application for permit; investigation; issuance.

Upon the entry of any commercial boat or any watercraft intended to be used for commercial purposes into
the City yacht basins, the owner, master or operator of the watercraft shall make application to the Port
Captain for a commercial permit required by this division within 24 hours after the entry of the watercraft to
the yacht basin. Upon the application being made, the Port Captain shall have a period of 90 days from the
date of the application to investigate the watercraft and to submit the application for the approval of the City
Manager If the permit is approved by the City Manager and if commercial facilites as provided for by
regulations of the City Manager are available, the permit required by this division may be issued

(Code 1973, § 10-81)

Sec. 7-173. Assignment of watercraft to noncommercial berth during pendency of
application for permit.

(a) Upon the entry of any commercial boat or any boat to be used for commercial purposes into the City
yacht basins and the filing of an application to the Port Captain for a commercial permit required by this
division, the watercraft may be assigned a noncommercial berth or slip during the pendency of the
application, upon the payment of the required slip rental for noncommercial craft and the commercial
watercraft shall be registered as a noncommercial craft during the pendency of the application.

(b) ‘It shall be unlawful for any person to use a commercial watercraft berthed pursuant to subsection (a)
of this section for a commercial purpose during the pendency of the application for a commercial permit

(Code 1973, § 10-82)

Sec. 7-174. Watercraft not to be used for commercial purposes without
assignment to berth.

No watercraft shall be used for a commercial purpose from the City yacht basins unless the owner, master

or operator thereof shall have received the proper assignment of a commercial slip or berth and shall have
paid therefor the required rental.

http://fws.municode.com/CGI-BIN/om_isapi.dll?advquery=cd 1.1 &aquery=cd1.! &headings... 5/5/2002
NextPa@Bb@GPOBIishO1677-RAL Document1 Filed 09/16/02 Page 47 of 96 PagelBug? | of |

Sec. 6-28. Use of nets.

No person shall use, set or place any net within the waters of the Gulfport Municipal Marina, or in the entrance
thereto. Nothing contained in this section shall prohibit the use of cast mets thrown from the seawali along the
entrance to the Gulfport Municipal Marina in areas designated for the same, so long as the use of said nets does
not present a danger to the health, safety or welfare of others, or interfere with the use of the boat channel by any
vessel The city manager, or his or her designee, may order the suspension or termination of any cast netiina
which presents a potential danger to the health. safety or welfare of any person. or which may interfere with the
use of the channel by any vessel.

(Code 1952, Ch. 22; Ord. of 5-1-56, § 22.28; Ord. No. 96-3, § 1, 3-5-

EXI@IT 33
Cty of Dudbpoth

http //ltvepublish. muntcode.com/5/Ipext.dll/Infobase | 8/1/2de/32d/358?f=templates&fn=docut.. 6/27/02

NiextPagAS@vEIADi0shO1677-RAL Document1 Filed 09/16/02 Page 48 of 96 Pagel | ot!

Sec. 14-26. Fish; taking by giil net, seine, drag nei, etc.

it shall be unlawful to take any fish from the waters within the jurisdiction of the city with any gill net, seine. drag
net or by stopping the course of any waterway.

(Code 1952. §

State law references: Forfeiture of seines and nets for illegal use, § 372.31. Fia
Sec 14-27
Editor's note: Ord. No. 85-12, § 1, adopted Sept. 17, 1985, repealed § 14-27 which prohibited the practices of

fortune-telling, clairvoyance, palm reading, etc. and provided a penalty. Such section had been derived from the
1952 Code, Ch 16: and Supp. 1953, § 16.49(2).

EXIBIT 34
C4 oh AS Li perte

http://livepublish. municode.com/S5/Ipext.dlL/Infobase | 8/1/e46/ed0? f=templates& fn=document... 6/27/02

NextPdgadaveRblishO1677-RAL Document 1 Filed 09/16/02 Page 49 of 96 PagelPage }! of I

Sec. 6-8. Combustion motor exclusion.

(a) No person shall operate any watercraft of any kind using any type of internal combustion engine within any
park or adjacent waterway of the city in any area where the same are designated as prohibited. Any area where
internal combustion engines are prohibited shall be referred to as a combustion motor exclusion zone The
operation of electric trolling motors, and the paddling or polling of power boats with the engine off. within such
zones, shall not be prohibited. A map depicting all combustion motor exclusion zones within the city shall be
maintained in the public records of the city.

(b) The area west of an imaginary line beginning at the fishing dock at the southeast corner of the Clam Bayou
Nature Park, running north around the east side of the park islands to the northernmost dock and running north
thereof to the northern boundary of said park, is hereby designated as a combustion motor exclusion zone.

(c) The area west of the municipal pier to the area of the proposed municipal dock, as more particularly
described in exhibit A to ordinance 2002-04.

(Code 1952, Ch. 22; Ord. of 5-1-56, § 22.9; Ord. No. 96-3, § 4, 3-5-96; Ord. No. 2002-04, §§ 1, 2, 4-2-

ExX|BIT 35

no ulbgost

http://livepublish. municode.com/5/Ipext.dll/Infobase | 8/1/2de/2e6/307?f=templates& fn=docut... 6/27/02

Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 50 of 96 PagelD 50

§ 69-92 TREASURE ISLAND CODE

Secs. 69-92—69-120. Reserved.

ARTICLE II. COMMERCIAL FISHING

Sec. 69-121. Use of nets, gill nets, seines, etc., prohibited; hooks and line devices
permitted in certain areas.

It shall be unlawful for any person to engage in or assist in commercial fishing or the
commercial! harvest of any seafood, plant or animal life by use of a net or nets, gill net or seine
when the use thereof is for the purpose of catching or harvesting for resale a quantity of fish,
seafood or plant life in a single catch, harvest or operation unless in compliance with Laws of
Fla. ch. 81-465.

(Ord. No. 95-10, § 37-81, 9-19-95)

Sec. 69-122. Exceptions.

The provisions of section 69-121 shall not apply to the use of any such nets or devices when
used solely for catching bait fish or the use of hand nets or seines for private sport fishing,
provided such nets or seines do not exceed 25 feet in diameter or length; and further provided,
nothing herein shall be construed to allow or authorize any use of nets, seines or other devices
prohibited by the conservation laws of the state and other sections of this chapter.

(Ord. No. 95-10, § 37-82, 9-19-95)

Sec. 69-123. Loading and unloading.

It shall be unlawful for any person, association of persons, firm or corporation to load or
unload commercial fishing vessels at any streets, alleys, road ends, seawalls or easements, or
at any other place within the city when such place or location is not a commercial! dock facility
as pennitted in established districts provided for such purpose.

(Ord. No. 95-10, § 37-83, 9-19-95)

EXIBIT 3k

CD69: 14

Case 8:02-cv-01677-RAL Deburvent H FilechooH46/02> Page-Siof 96 PagelD 51

Boats, Docks and Waterways

§ 5-23. DOCK CONSTRUCTION ON WATERWAYS.

In addition to such permits as may be required by county, state and federal agencies. a building
permit shall be obtained from the City Building Inspector prior to construction of any dock, wharf,
pier, or similar structure abutting the waterfront of the city. Application shall be made in accordance

with established procedures.
(80 Code, § 5-23) (Ord. 827, passed 9-20-77)

§ 5-24. WATER POLLUTION, CONTROL OF WATERFRONT AND WATERCRAFT
ACTIVITIES.

The rules contained in this section shall apply to all watercraft operated or moored within the city
and to all properties within the city.

(a) No garbage, trash, litter, or other debris, shall be thrown overboard from any vessel while
moored or underway within the city.

(b) The operators and owners of vessels carrying passengers for hire will be responsible for the
actions of passengers and crew in respect to the rules of this section. Warning signs advising
of the content of this section and the penalties prescribed therefor shall be conspicuously
posted in each vessel, and each vessel shall be equipped with such trash and garbage
receptacles as necessary to contain accumulations of such materials during cruises.

(c) {t shall be the responsibility of the operator of any vessel not carrying passengers for hire to
see that the rules contained in this section are brought to the attention of all persons on board

and obeyed.

(d) The pumping of bilges containing oil, grease or any substance other than clean water into the
waters within the city is prohibited.

(e) Garbage, trash, litter, fish carcasses or parts, lawn clippings or other vegetation, or any other
offensive or noxious substances or discharge shall not be thrown, placed or otherwise suffered
to enter the waters of the city.

(80 Code, § 5-24) (Ord. 827, passed 9-20-77)
§ 5-25. FISHING WITH NET PROHIBITED.

It shall be unlawful for any person to fish or cause to be fished any seine gill net or other kind
of fishing net (with the exception of using a cast net to catch mullet) in any of the waters that lie
within the city.

(80 Code, § 5-25) (Ord. 827, passed 9-20-77) \ | VT s
Cy Ee ° S t
149 oh CPO) PAN

Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 52 of 96 PageID 52

§ 25.04 SAFETY HARBOR CITY CODE

(2) When all boat slips are filled, and with the authorization of the city manager, a boat
may be tied to the shore of the basin;

(3) Lessees are responsible for the proper security of their boats, using only approved
lines and weights and being moored in a manner as directed by the city manager or
his agent;

(4) No boat shall be left in the basin when it has become filled with water to the extent
that it is partially or totally submerged;

(5) No boat shall be moored in such a manner that it swings in a circle or in any way to
cause damage to the basin, pier or any other boat;

(6) No boat shall be moored or attached to the city pier in any manner;

(7) No major repairs shall be made upon any boat within the basin if such repairs shall
necessitate the removal of the boat from the basin.
(Code 1970, § 27-4)

Sec. 25.05. Damage to boats.

The city shall not be held liable for any damage, fire or theft of any boat, article or articles
left in a boat, while moored in the city yacht basin. Use of a slip by any person or entity shall
mean by such act that such person accepts all provisions of this chapter and the rules and
regulations prescribed with regard to the yacht basin, and agrees to hold the city and its
officers and employees harmless for any acts taken pursuant to this chapter.

(Code 1970, § 27-5)

Sec. 25.06. Prohibited acts.

In addition to the prohibitions found in section 16.07.1 of this Code, the following shall be
prohibited acts within the city yacht basin:

(1) No boat shall be launched other than at the boat ramp;
(2) No boat shall exceed a speed limit of five (5) miles per hour within the basin;

(3) No garbage, trash, fish carcasses, etc., shall be deposited in the water or on the shore
adjacent to the water within the basin;

(4) No person or entity shall fish, swim, net or castnet from the dock or seawall, or within
the basin;

(5) No one shall park a trailer or car on the shore of the basin except that cars shall be
permitted to park on the south side of South Boulevard and cars with trailers shall! be
permitted to park on the north side of South Boulevard;

(6) Except for lessees, their families and their guests, the general public shall be
prohibited from all docks and catwalks;

(7) No boat shall be occupied as living quarters while moored in the yacht basin;

EXIBIT 38

Supp No 27 1534

Cty of Safety Werbor
Case 8:02-cv-01677-RAL Document 1

Filed 09/16/02 Page 53 of 96 PagelID 53

WATERWAYS S784

ARTICLE EL. IN GENERAL

Sec. 78-1. Glass containers and/or bottles
prohibited on public beaches.

Glass containers and/or bottles associated with
the consumption of food, alcoholic or nonalcoholic
beverages shall be prohibited from the public
beaches of the city.

(Code 1983, 8 12-135)

Sec. 78-2. Fishing prohibited.

(a) Residential areas. No person shall fish in
any fashion from any city owned dock, shore,
seawall, bridge or roadway in any residentially
zoned area of the city between the hours of 9:00
p.m. and 6:00 a.m.

(b) John's Pass Village Boardwalk. Fishing
from any portion of the John's Pass Village Board-
walk is prohibited between the hours of 8 00 a m.
to 1000 pm Cast netting and fish cleaning from
any portion of the John's Pass Village Boardwalk
are prohibited during all hours.

(Code 1983, § 12-137)

Sec. 78-3. Swimming and spearfishing; pro-
hibited in certain areas.

(a) [t shall be unlawful for any person to swim,
dive, float or to engage in spearfishing or skin
diving in the waters of John's Pass between the
intersection of [28th Avenue extended to the
water of John's Pass and Boca Ciega Bay, and the
western end of L28th Avenue extended to the
waters of John's Pass and the Gulf of Mexico.

(bh) The city manager is hereby authorized to
procure and install such signs and other warnings
as shall be necessary to effectuate the prohibition
set forth in subsection (a) of this section
(Code 1983, § 5-103)

Sec. 78-4. Restricted swimming areas estab-
lished.

Within the designated restricted areas, identi-
fied with buoys as prescribed in FS § 327 40. no
vessels of any kind with the exception of surf-
boards, paddle boats, and sail boats shall be

allowed to operate within the swim area, however,
such vessels shall be allowed to traverse the swim
area to reach water outside the restricted area

(1) Arectangular area of water in the Gulf of
Mexico, parallel to the shoreline. extend-
ing southwesterly 300 feet into the Gulf of
Mexico measured from the mean high
water line and having a northwest bound-
ary as the north side property line of
parcel number 09/3 1/15/54329/000/000 1 -
1004 (15316 Gulf Boulevard) currently
known as the Madeira Towers Condomin-
ium, as extended into the Gulf of Mexico,
and a southeast boundary as the south
side property tine of parcel number 09/3 L/
15/63729/000/0001-1208 (14950 Gulf Bou-
levard) currently known as the Ocean
Sands One Condominiiua, as extended
into the Gulf of Mexico, 1s hereby declared
to be a Madetra Beach restricted area for
exclusive use of swimmers The rectangle
area of water, encompassing approxi-
mately 1,860 feet of shoreline, includes
water front parallel to the Madeira Tow-
ers Condominium, parcel number 09/3 1/
15/52524/003/0090 (15208 Gulf Boule-
vard) currently known as Holiday [nn,
parcel number 09/31/15/00000/13/0500
(15100 Gulf Boulevard) currently known
as Archibald Memorial Beach, parcel num-
ber 09/3 1/15/63729/000/0001-1208 (14950
Gulf Boulevard) currently known as Ocean
Sands One Condominiums, and parcel
number 09/3 1/15/63730/000/0.10 L- L208
(1500 Gulf Boulevard) currently known as
Ocean Sands Two Condominium

(2) The rectangular area of water, approxi-
mately 450 feet parallel to parcel number
09/3 1/15/00000/440/0200 (Tract 44-02
(property)) to the west of Gulf Boulevard
between Iddth Avenue and 145th Avenue
MOL currently known as the countv/eity
access park and extending approsimately
300 feet westward tnto the Gulfof Mexico,
is hereby declared to be a Madeira Beach
restricted area for the exclusive use of
swimmers

(3) A rectangular area of water in the Gulf of
Mexico parallel to the shoreline, extend-

CD78 3 eX\8 \T 3S 4
Cre of Wadoria Beach

Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 54 of 96 PagelD 54

PARKS AND RECREATION § 42-116

(f) ‘The boating regulations as adopted by ordinance by the county board of commissioners
shall be in effect in the city.
(Code 1980, § 13.5-11)

Sec. 42-114. Use of docks and launching ramps; pollution of park waters; boats for
private use.

(a) The docks and ramps in parks must be kept clear of all equipment or gear.

(b) No refuse, trash, oil or bilge water shall be thrown or pumped overboard within the
waters of any park.

(c) Sanitary facilities on boats which discharge overboard must not be used while boats are
within the waters of any park.

(d) Overnight living on boats docked or moored within park waters is forbidden in parks
lacking dockside sanitary facilities.

(e) Boats operating in park waters must obey the rules and regulations as prescribed in this

article.

(f) Any defacement or damage of piers or of dock property must be repaired or corrected at
the expense of the person who proximately caused such defacement or damage

{g) Docking and mooring facilities in parks will be limited to noncommercial, privately
owned boats. ‘The use of docking and mooring space for an unreasonable amount of time to the

exclusion of others will not be permitted.
(Code 1980, § 13.5-32)

Sec. 42-115. Fishing.

(a) Commercial fishing or the buying or selling of fish caught in any park waters is

forbidden.

(b) No person shall at any time fish in or near any area where bathing, swimming or wading

is permitted.
(Code 1980, § 13.5-12)

Sec. 42-116. Hunting and firearms restrictions.

(a) No person shall carry, use or possess firearms of any description. air rifles, pistols,
spring guns, bows and arrows, slingshots, boomerangs or any other form of weapon potentially
inimical to wildlife or dangerous to human safety on or in any park area or property The
foregoing does not apply to weapons duly issued to officers of the law by the law enforcement
departments of which they are members.

(b) The hunting, trapping or pursuit of animals by any means or method whatsoever is

forbidden on or in any park area or property Er Vv 1B iT UO
Supp No 10 CD42:13 Cy of Olde men.

NextPagebiveRublishoi677-RAL Document1 Filed 09/16/02 Page 55 of 96 PagelBags | of 1

Sec. 22.35. Fishing.
(1) Commercial fishing or the buying or selling of fish caught in any park waters is strictly
(2) The use of trotlines for fishing in park waters is

(3) Fishing is permitted in park areas but is prohibited from any public bathing beach or within any safe bathing
limits or restricted area associated therewith.

(Code 1980, §
Cross references: Waterways and vessels generally, ch. 33; saltwater fishing, § 33.097 et

Exar NL
Coy of Clos GOL

http://livepublish.municode.com/4/Ipext.dll/Infobase13/1/1 1cf/1211/1265?f=templates&fn=dc... 9/15/02
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 56 of 96 PagelD 56

BEACH, BOATS, MARINE WAYS, STRUCTURES AND ACTIVITIES

Sec. 11-53. Fishing restricted.

{a) Shark fishing. Shark fishing is prohibited
on and within one thousand (1,000) feet of the
beach. Shark fishing is permitted beyond one
thousand (1,000) feet from the beach between
sunset and sunrise.

(b) Surf fishing. Surf fishing is prohibited upon
any beach within the corporate limits of the city
in close proximity to swimmers.

(c) Spear fishing. Spear fishing is prohibited
upon any beach within the corporate limits of the
city or within one thousand (1,000) feet of any
beach within the city.

(Code 1980, § 4-15)

Sec. 11-54. Speed of boats near Gulf beach
areas.

(a) No person shall operate or navigate any
boat or other watercraft adjacent to the Gulf
beach within the buoy system; however, the boat
operator may proceed in the shortest and most
direct route possible to the beach at a speed not in
excess of idle speed. No person shall operate or
navigate any boat or other watercraft while tow-
ing or pulling water skis or any other riding
device which allows the water skis or other tow-
ing device to encroach upon an area inside the
buoy system.

(b) Watercraft, as defined in this chapter, shall
include, but not be limited to, any boat, raft or any
other contrivance of any description, type and
purpose which is capable of being reasonably used
as a means of transportation of or occupied by
person or property upon navigable waters whether
or not powered by any machine or device.

(Code 1980, § 4-16; Ord. No. 591, § 4, 1-3-96)

Sec. 11-55. Miscellaneous regulations.

(a) It shall be unlawful for any person to ski
under any bridge or pier within the city or in any
area designated as a congested marine area.

(b) It shall be unlawful for any person to ride
upon waterskis or other similar device and ma-
nipulate same in disregard for the safety of per-
sons or property in the waterways.

(Code 1980, § 4-17)

Supp No 8

§ 11-58

ARTICLE IV. BEACH

Sec. 11-56. Prohibition of activities.

The following activities are prohibited on the
beach:

(1) The building of campfires or bonfires on the
beach, except by special event permit.

(2) The possession or consumption of alcohol.
(3) The possession or use of glass or bottles.

(4) Live music, parties or special events with-
out city commission approval.

(5) Movie productions without the city

manager's approval.

(6) The taking off and landing of aircraft, he-
licopters and ultralights, unless they are
emergency vehicles, without approval from
the city manager.

(Ord. No. 591, § 1, 1-2-96)

Sec. 11-57. Dogs and cats prohibited.

It shall be unlawful for any person to keep,
harbor, have, for] allow any dog, cat or any other
domesticated or wild animals in his possession,
custody or control at any time anywhere on the
beach within the city. (Seeing-eye dogs or dogs
providing accommodation to the disabled are ex-

empt from this section.)
(Ord. No. 591, § 1, 1-2-96)

Sec. 11-58. Vehicles prohibited; exceptions.

It is unlawful and prohibited for any person,
directly or indirectly, to use or operate or to allow
another to use or operate upon, on or along the
Gulf beach, or upon any beach or shoreline or
waters adjacent thereto, within the city limits,
any motor vehicle, or other vehicle, or to bring or
have or ride thereon unless application in writing
showing reasonable necessity therefor shall first
have been made to the city manager and written
permission is obtained from the city, subject to the
following exceptions:

(1) This shall not apply to municipal, law
enforcement and emergency vehicles or
equipment. or to any vehicle there for an
emergency purpose for the public safety or
general welfare, nor shall it apply to or

EXIBIT a

Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 57 of 96 PagelD 57

opening cans or any other potentially dangerous or sharp objects into any beach, bathing, wading o1
swimmung pool areas.

{d) No person shall frequent aay waters or bathing beach for the purpose of swimming or
bathing except between such hours of the day as shall be designated by the department for such purposes
for each individual area.

(e) Bathing beaches may be closed to the public and bathing therein mav be prohibited at any
time when in the opimion of the director such bathing is dangerous or otherwise tnadvisable

(fF) No persons or pets shall wash or be washed with or without soap or other cleansers in
bathing areas

(g) No pets shall be allowed in or on the bathing areas or beaches
(Ord. No. 97-10, § 1, L-7-97)
Sec. 14-11. Boating.

(a) No person shall bring into or operate any boat, yacht-crutser. canoe, raft or other watercraft
(except toys too small for human occupancy) in any park property watercourses, bays, lagoons, lakes,
canals, rock pits, rivers, ponds, or sloughs other than those so designated for such use of purpose by the
department

(b) All persons navigating or operating a motor-equipped boat in park property waters shall
comply with all established speed and navigation regulations

(c) No motor-equipped boat shall be operated in park property waters within two hundred (200)
feet of bathing areas or areas frequented by bathers or swimmers, nor shall any person engage in
waterskiing in park property waters within two hundred (200) feet of areas frequented by bathers and
swimmers, nor shall any person or persons engaged tn any phase of waterskung act or perform in any
such manner as to annoy, inconvenience of endanger any bather, swimmer, fisherman or occupant of any
boat whether underway, anchored, docked or beached. No boat being used for the purpose of towing any
skier or skiers in park waters shall be operated with less than two (2) persons aboard at all times.

(d) No person shall display any sign, placard, notice or commercial announcement of any kind
upon a boat or vessel while occupying dockage or mooring space, except that "FOR SALE" signs may be
posted with written permission of the department.

(e) No person shall be permitted to rent, hire or operate for charge any kind of boat or
watercraft, whether powered or not, on any park property waters unless approved by the department.
Nor shall any boat, operating for hire, or carrying passengers for money, or contemplating the same, be
allowed or caused to land or receive such passengers at any dock or wharf or landing place or anchorage
in park property, except by special permit Persons operating stich boats desiring to maintain a scheduled
boat line for such purpose, either annual or seasonal, may make formal written application to the director
All persons operating such boat lines or liveries shall be subject to all the rules and regulations governing
the operating of boats in park property waters, as contained herein.

(Ord. No. 97-10, § 1, t-7-97)
Sec. 14-12. Fishing.

(a) Commercial fishing or the buying or selling of fish caught is strictly forbidden

EX161T 4+3 @amp)
of HONGO

141005

Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 58 of 96 PagelD 58

(b) No person shall fish in any park property waters, whether fresh or salt, and whether by the
use of hook-and-line, seine, net, trap, spear, gig, or other device, except in such waters thereof as are or
may be designated by the department for that use and under such regulations and restrictions as have
been or may be prescribed by said department.

(c) No person shall! at any time fish from beaches in any area where bathing is permitted.
(Ord. No. 97-10, § 1, 1-7-97)
Sec. 14-13. Hunting and firearms.

(a) No person shall carry, use or possess firearms of any description, air rifles, pistols, spring
guns, bowls and arrows, slingshots, boomerangs, blow darts. horseshoes, patnt balls, or any other form
of weapons potentially inimical to wildlife or dangerous to human safety except at and in accordance with
the rules and regulations as a participant in a program sponsored by the department.

(b) No person shall, without prior written authorization, hunt, trap or pursue wildlife by any
means or method whatsoever.

(Ord. No. 83-66, § 14, 1-3-84; Ord. No. 97-10, § 1, 1-7-97)
Sec. 14-14. Picnic areas and use.

(a) No person shall picnic, lune or cook in any area not specifically desinated by and regulated
by the department supervisors of such usage.

(b) No person shall build, light or cause to be lighted any fire upon the ground or beach or other
object in any area except in an approved grill, stove, fireplace or other suitable contamer, nor shall any
person starting a fire leave the area without extinguishing the fire. To maintain cleanliness and order as
well as to reduce fire hazard, each picnic party shall see that its fire is completely extinguished before
leaving and that all trash such as boxes, papers, cans, bottles, garbage and other refuse is placed in the
disposal receptacles where provided. If there are no such trash receptacles available, then refuse shall be
carried away from the area to be properly disposed of elsewhere.

(c) No person shall use a grill or other device in such a manner as to burn, char, mar or blemish
any bench, table or other object of park property. No person shall leave any fires and/or coals unattended
afany time

(d) The department and its assistants will regulate activities in picnic areas when necessary to
prevent congestion and to secure the maximum use for the comfort and convenience of all If the facilities
are crowded, persons holding picnics in any picnic area, building or structure shall not use the same to
the exclusion of others for an unreasonable time, the determination of what is unreasonable being at the
discretion of the department supervisor. Use of the individual fireplaces, together with tables and benches,
follows generally the rule of “first come, first served.”

(Ord No. 83-66, § [5, [-3-84; Ord. No. 97-10, § 1, 1-7-97)
Sec. 14-15. Games.

No person or persons shall engage wn rough or potentially dangerous games or practice for same,
such as football, baseball, softball, horseshoes, quoits, tennis, volleyball, badminton or any other games,
practice or exercise involving thrown or otherwise propelled objects such as balls, stones, arrows, javelins,
shuttlecocks, Frisbee, model aircraft or roller and inline skates except in park property areas specifically
designated and set aside for such recreational use.

14006
NextPage dveRublisho1677-RAL Document1 Filed 09/16/02 Page 59 of 96 Pagefageel of 20

Sec. 12-19. Occupational license classification and rate schedule. |

DIVISION A: AGRICULTURE, FORESTRY AND

_EX18 T_Y¢¥

TABLE INSET:
Industry Rate |
“Group
No.
Major Group 1. Agricultural Production--Crops
011 Cash grains.......... $ 75.00
013 Fleld crops, except cash grainé.......... 75.00
016 Vegetables and melons.......... 75.00
017 Fruits and tree nuts.......... 75.00
018 Horticultural specialties.......... 75.00
a19 General farms, primarily crop.......... 75.00
Major Group 2. Agricultural Production--Livestock and Animal
“021 Livestock, except dairy and poultry.......... -75.00
024 Dairy farms.......... 75.00
025 Poultry and eggs.......... 75.00
027 Animal speciatties.......... 75.00
029 General farms, livestock and 75.00
animal..........
Major Group 7. Agricultural Services
071 Soil preparation services.......... 75.00
072 Crop services.......... 75.00
074 -Veterinary services.......... 75.00
0742 Veterinary services, animat 100.00
speciatties..........
(license required by the department of
business and professional regulation
075 Animal services, except veterinary.......... 75.00 |
076 Farm labor and management services
078 Landscape and horticultural services
0781 Landscape counseling and planning.......... 75.00

Architects will be charged an additional twenty-five dollars ($25.00), license required by the department of business and

professional regulation.

Major Group 8. Forestry

081 Timber tracts.......... 75.00
083 Forest nurseries and gathering of forest 75.00
products..........
085 Forestry services.......... 75.00
Major Group 9. Fishing, Hunting, and Trapping -
091 Commercial fishing........ 75.00
092 Fish hatcheries and preserves.......... 75.00
097 Hunting and trapping, and game 75.00
propagation..........
DIVISION B: MINING
Mafor Group 10. Metal Mining
101 Tron ores.......... 150.00
102 Copper ores.......... 150.00

http://livepublish.municode.com/4/lpext.d!l/Infobase1 8/1/14ee/15599f=templates&fn=docume...

9/15/02
NeaiP:QasaveRibiish01677-RAL Document 1 Filed 09/16/02 Page 60 of 96 PagelD-@6 : vi:

Sec. 62-82. Fishing,

(a) It shail be unlawful for any person io fish by any means whatsoever in, upon or from Riverview Boulevard
from 26th Street Wes? to the eastern terminus of Riverview Boulevard, or from ihe ; mi. sidewalk, carkway
or seawall lying between the southerly boundary of Riverview Boulevard and the Ma

(b}. = It shall be unlawtui for any person io ish

hh by any means in the boat basin ait Memcria! Pier. and persons
found guilty of sucn offense be punished as pro

ovided in section 71-15.
{c) it shall be unlawful for any individual to si fy by any means whatsoever upon or from Riverside Orive
beginning at the western right-of-way of 24th Street East to the easterly end of Riverside Drive and from ihe

pavement. sidewalks, parkway. seawail or riprap lying between the southerly boundaries of Riverside Drive and
the Manatee River.

(Code 1977, § 4-3(b}: Ord. No. 2553, 4-24-96)

EXIBIT 45.

hitp:/livepublish. municode.com/3/Ipext.d1L'Infobase46/1/1 19e/! fde’! le5°f=templates& fnedc.. 7/13/02
NeaiPagedeavelimigho1677-RAL Document1 Filed 09/16/02 Page 61 of 96 PagelD‘@t + vi :

Sec. 46-46. Fishing.

=~
wn

{1} Engage in commercial ising or the buying or selling of &sh caught in any wate

(2) Fish off-shore from any type of boat within 300 feet of a pubic beach pier or authorized Hahn
groin or pier, nor shall any person at any time Fish in any area where bathing is cermitied

{Ord No 237. § Vi3) 8-§-85}

Cross references: Waterways generally. ch 66

EXI®BIT 4b
Cy of Beodanton Beak

hitp:livepublish. municode.com/3/ipext.dll/Infobase4 5/ 1/1 1f2/1210/1276°=templates@in=dc.. 7/13/02
NextP@asei BeOBhi01677-RAL Document1 Filed 09/16/02 Page 62 of 96 PagelD’eg | of 2

Sec. 14-7. Omnibus provision; maximum penalty authorized.

Rt shall be unlawful and constitute an offense against the icown, ounishable as oroviced in section 1-8 for any
person in the town to commit, cr aid, abet or assist another in committing any of ine fouow:

Accepting a bate
Affray Engaging in.

Aiding. with knowledge. a person to escape from lawful custody of an officer or tc fiee the scene of an
offense.

Aniinais. Maiiciously or wantonly or by gross negligence killing a dog or other anima: of ancinher person
Animais’ See Hogs;

Arrest: Resisting. ar hindering or obstructing an arrest or an attempted arrest.

Assault or assault and battery:

Assembly: Disturbing a lawful assembly:

Bonfires and grass fires: Making or causing a bonfire or grass fire without permission from the town clerk
cr at a time or place not so permitted:

Breach of the peace;
Bribes: See Accepting a bribe;
Cheating: As defined in section 817.29, Florida Statutes 1941

Culpabie negligence to the injury of any person or property:

Disorderly conduct. E y | 8 | T 9
Drunkenness: Being publicly drunk. - .

ope (Q PACES)
Embezziement

Escape: See Aiding, étc.: ak Cy of Bax Hanrho eNadlendy

Explosives: Keeping dynamite, nitroglycerine, gunpowder. gasoline or Kerosene in excess of fifty (50)
gallons, or other explosive or highly inflammable substance without written permit from the “cou neil:
exploding or biasting with any explosive substance without written permi from the council or at a time or
piace nat so permitted;

Extortion or malpractice by a pubiie officer

False statement: Knowingly making a faise statement in applying for any Germit or permission required by
any ordinance:

Falsifying public records or making false entries therein:
Fighting;
Feace or hedge: Willfully breaking or damaging another's fence or hedge

atin

Firefighting equipment, etc: Driving over a fire hose or into a fire i obstructing or interfering with
a fireman firefighting equipment, vehicies or apparatus’ blowing or imitating a fire whistle or siren’ turning
in a false alarm of fire’

http./livepublish.municode.com/’3/Ipext. dll/Infobase40/1/8bd/8c2/8d5° Htemplatesktn=docu... 7/13/02
NeMPaGase 602/0W01677-RAL Document1 Filed 09/16/02 Page 63 of 96 PagelD'é8~ “" ~

Flebing: Trespassing.or loitering therefor withirrthestowrr limits:
Fraud,

Garbage. Any occupant failing promotly to dispose of all garbage offal anc anima: carcasses ‘rom ine
premises occupied by hin:

Hogs: Keeping hogs or sigs:

impersonating acy pubiic officer:

indecent exposuré of the person

lntoxicating liquors Selling alcoholic or intoxicating liquor to a4
Lewd and iascivious conduct;

Monuments’ Removing, defacing, or otherwise damaging or destroying a Monument of Boundary Marker
without the owner's consent:

Nuisances: Maintaining any source or ca use of noxious odor or gas or of any ioud disturbing noise or
other nuisance; or causing the same to xi xist

Obscene prints: Circulating or offering for sale obscene print or picture.

Obtaining proparty, money or iodaing by faise pratense or by fraudulent representation
Pernury or subordination of perjury:

Petit larceny:

Process: Resisting or evading service of legal process:

Profanity: Publicly induiging in profane, obscene or abusive language:

Public utilities: Driving into electrical pole. standard or fixture: tampering with. removing. defacing or
otherwise damaging a water main. fire hydi rant, ele cirical or water meter, eiecizical Power Rght. telephone
o7 telegraph pole, wire, circuit, insulator, transformer or apparatus--except by 'awful authority so to do:

Quarantine: Breaking cr violating a lawful quarantine.
Receiving or concealing stolen goods. with Knowleage thereof

Riot: inciting or engaging in a riot, rout. mob or unlawful assembiy:

Shrubbery’ Cutting. tearing, burning, piucking, or otherwise damaging or removing any iree, shrub, flower
or other plant on a public parkway. or on town property. without authority of the towa

Shrubbery: Cutting. tearing, burning, piucking or otherwise damaging or ing any irée shrub. flower

ar other plant on private property without permission of ihe owner or caret

Streets and sidewaiks: Writing on. printing on or painting Gn or digging a bublic street or sidéwaik, or

piacing any sign or banner thereon or thereover without permission of the council. Maqnng of Keeping any
bench, chair, pot. box or other articie in a public street orona public sidewaik Of Darkway of ciherwise

obstructing a public street, walk or way: throwing trash or refuse in a public siveet, sidewaik, park or

parkway,

Town property. Writing on, printing on, painting on, cutting. burning. tearing or otherw.se damaging of

aefacing town offices. furniture machinery or ather property rowned or used by ihe town

(Crd. No 5 §§ 1 2, 2-7-48, Ord. No 513. § 2. 3-5-

hitp://livepublish. municode.com/3/Ipext.diInfobase40. 1 /8bd/8c2/8d5°ftemplates& In-docui... 7,13/
NextPegg tye Bylisto1677-RAL Document 1 Filed 09/16/02 Page 64 of 96 PagelD’ezr | of |

Sec. 5-10. Commercial fishing and gill net fishing.

Commercial! fishing and gill net fishing are prohibited within the jurisdiction of the city. Enforcement shall be
through the.City of Key Colony Beach.

(Ord. No. 295-1995, 3-22-95)

Secs. 5-11-5-14. Reserved.

EXI8IT ¥8

Coy | Key Coolerey Beas,

http://livepublish. municode.com/6/lpext.dll/Infobase/1/3d1/3e2/40 1 ?fn=document-frame.htm<.. 6/27/02

NexiP.@ase @bastiekO1677-RAL Document1 Filed 09/16/02 Page 65 of 96 PagelD’65 + |

Sec. 110-122. Prohibited acts.

it shall be unlawhl for any person to do or perform any of the following acis in. over or on the Anna NV
Pier and Doc

erating any automobile ivuck motorcycie, scocier tcycie oi

{2} Bathing. swimming or diving

(3) Gigging, spearing or using snatch hooks to take fish from or under the pier and dock and within 50
yards thereof

(4) Taking dogs or other pets onto the pier.

(5) igniting or using any gascline. kerosene, volatile fuel, gas. charcoai, wood or other similar type of
iantern. lamp, stove. fire or lighting device other than those which are baile y operated except that gas
cooking and heating equipment may be used in the pier kitchen. dining are and bait shop

(6) Placing upon, dumping or throwing from the pier or dock into adjacent waters any bolties, cans.
garbage, irash or other debris or noxiaus substances or things. All persons using the pier and dock shail
piace such items in containers provided therefor.

(7) asi neattig beyond a marker which is 475 feet from Manatee County Survey GIS Primary Point
M-OSS. Primary Point M-O99 is located at the base of the pier and marked wn a nail and Manatee
County survey disc. Notwithstanding the foregoing. the pier manager or the managers designees may
use Casi cers to obtain bait beyond said 475-foot marker

{8} Consuming or having any aicohcalic beverage other than beer or wine in a person's custody or
possession at any time. it is unlawful for any person to consume wine on the pier or dock except within
the restaurant premises located on the pier or dock.

{9} Permitting the presence of chiidren on the city pier and dock under the age of ten years unieéss
under the supervision of an adutt.

(Ord No 96-547, § 1(25-102), 2-16-96; Ord. No 2000-582. § 7, 7-13-00)

a

http /livepublish. municode.com/3/Ipext.di/Tnfobase32/1/e26/ec6/ef0 "templates& fn=docun... 7/13/02
NextP&gada @Pa@btishoO1677-RAL Document1 Filed 09/16/02 Page 66 of 96 Pagel ager | of |

Sec. 5-8. Anchoring of watercraft in the navigable waters of the town; registration of
watercraft.

(a) No person may anchor any watercraft in the navigable waters within the corporate limits of the Town of
Highland Beach, with the exception of watercraft fastened to shore based docks.

(b) Violations of this section shall be subject to enforcement by the code enforcement board of the
(Ord. No. 621, §§ 1-3, 2-4-92; Ord. No. 688, § 6, 1-2-

EXIBIY 5O
TOWN o4 Hidhland Beach

http://livepublish.municode.com/5/Ipext.dll/Infobase24/1/2cd/2£5?f=templates& fn=document... 6/27/02
NexiFépada &:Babbsi01677-RAL Document1 Filed 09/16/02 Page 67 of 96 PagelW@* i of:

Sec. 15-33.1. Waterways and canals; obstruction declared to be public nuisance.

sy

The obstruction of any canal or waterway located within any of the residential ection
including, but not limited to, those canals and waterways extending from the Ban

Subdivision, Cocoa isles Subdivision, Convair Cova Subdivision, Indian Creek Es
Manor Subdivision, River isies Subdivision, Royai Palm Island Subdivisior n, Sunset
Esiates Subdivision, Snug Harbor Estates Subdivision, or any other canal or waten

of Cocoa Beach, Florida.

ver into Vensiian Wey
ie es Subdivision, Newland
nd d Subdivision, Surfside
iow OF ak or existing,

® i o
& 72

a S

heats.

=
p28 Ba

by placing or setting or using therein any screen, net, seine, rack, or similar cevice. either singularly or in rotation
or one behind another, or in any manner whatsoever, or the using of any of the foregoing device 3 which when
deployed, installed, stretched, located, towed, dragged, or cthenwise used would le in or on or over or along said
canals or waterways in any manner that would create an obstruction or hindrance to the

@ operation or use therein
or thereon of boats, watersports equipment and watersporis gear, adversely affects the safety and welfare of the
general public in the use and enjoyment of said canals and waterways for both recreational and residential
purposes; and any activity involved in so obstructing or in so using said devices which creates disturbance of or
insecurity among or adversely affects the tranquility of the general public residing on, or occupying, the residential
properties or lots adjacent to said canals and waterways, adversely affects the safety, repose, peace, health, and
welfare of the general public, a and such obstruction, use or activity is, and is hereb declared to bé, a public

¥

conviction therefor, be oy eened according to ow

{Ord. No. 225, § 1, 5-19-66}

Secs. 15-34--75-37. Reserved.

NextPagada e@Publisho1677-RAL Document1 Filed 09/16/02 Page 68 of 96 Pageliage ! of |

Sec. 22-61. Water activities.

No Person shall swim, ski, dive, surf, scuba dive, fish or use boats or any other watercraft in any area in any Park
or Recreational Facility unless such area is specifically designated for such purpose.

(Code 1989, § 9.06)

EXIBIT S22

http://livepublish. municode.com/5/Ipext.dll/Infobase | 0/1/67£/6fb/7 12?ftemplates&fn=docume.. 7/2/02

NextPagé PRePshow CLO 77-RAL Document 1 Filed 09/16/02 Page 69 of 96 PagelD Bee lof |

Sec. 6-6. Use of nets at beach.

It shall be unlawful for any person to be in actual or constructive possession of any drag nets. haul seines, trawis or other
devices or equipment, except common hand cast nets or hand dip nets, while on the municipal beach of the city

(Ord. No 75-7, § 3, 7-10-75)

EXIBIT 53

CH, of Flagler Beack

http //lvepublish /a33?f=templates& fn=document-frame htm&q=cast%20net%20fish%20seine™20&x=Simple&2 8/13/02

NextPage Enepuinahey O16 7 7-RAL Document 1 Filed 09/16/02 Page 70 of 96 PagelD $Qee | of2

Sec. 16-2. Regulation of use of parks and park property.

(a) DEFINITIONS. For the purposes of this section, the following terms, phrases, words and their derivations shall have
the meaning given herein:

(1) The word “department” means the Coral Springs Department of Parks and Recreation
(2) The word “director" means the director of the parks and recreation department.

(3) The words “law enforcement officer" means any member of the Coral Springs Police Department
authorized to enforce all criminal and traffic laws and ordinances within the City of Coral Springs

(4) The word "park" means any public park, recreation or playground area, or building or facility thereon, within
the City of Coral Springs owned and maintained as a public park, whether or not such areas have been formally
dedicated to such purpose.

(5) The words “park ranger” means any employee of the City of Coral Springs under the supervision of the
director and authorized to enforce this section, specifically including but not limited to all applicable littering and
vehicle parking laws and ordinances within park boundaries

(6) The word "permit" means the written permission that must be obtained from the director or his designated
agent to carry out a given activity in a park.

(7) The word “person” means any person, firm, partnership, association, club, corporation, company or
organization of any kind

(8) The word "vehicle" includes any wheeled device of conveyance, whether propelled by motor, animal or
human power. The term shall include any trailer in tow of any kind, size or description Exception is made for
baby carriages and vehicles in the service of the City of Coral Springs

(B) CONTROL OF VEHICLES.

(1) Vehicles and traffic laws. All applicable state and local vehicle and traffic laws and ordinances shall
continue in full force and effect in any park.

(2) Operation of vehicles within parks

(a) No person shall operate a vehicle in a park except upon designated paved or improved park
roads or driveways, or in and upon designated areas or trails set aside for use by such vehicles, unless
directed by a law enforcement officer or park watchman to do so, or by official signs or markings.

(b) No person shall operate a vehicle within the park in excess of fifteen (15) miles per hour, except
upon these roads or driveways where official signs or markings designate a different speed limit.

(3) Parking

(a) No person shail park a vehicle on park property other than in areas designated for parking that
type of vehicle, unless there is an emergency or unless directed to do otherwise by a law enforcement
officer or a park ranger Parking shall conform to officially posted signs or markings unless other
instructions are given by a law enforcement officer or a park ranger

(b) No vehicle shall be left standing or parked at night within a park without lights clearly visible front
and rear for at least two hundred (200) feet, except in designated parking areas.

(c) No vehicle shall be left parked on park property after park closing hours without obtaining a permit
from the director.

(C) PARK PROPERTY.

(1) Buildings and other property. No person shall in any park do or cause to be done any of the following
without first obtaining a permit from the director

(a) Wilfully mark, deface, or injure in any manner, or displace. remove, or tamper with any park
building, bridge, table, bench, fireplace, railing, paving or paving materials, water line or other public
utility or parts thereof, park sign or marking whether temporary or permanent, monument, stake, post, or

other structure or equipment, facility, or park property of any kind
EXI8IT SY
Coy eh Coal Springs CA pss)

heto-//livepublish.mu . /! 13b?ftemplates& fn=document-frame.htm&q=cast%20net%20fish’o20seine&x=Simple&2. 8/9/02
NextPagé EReBuItisheY O16 77-RAL Document 1 Filed 09/16/02 Page 71 of 96 PagelD Pave 2 of 2

(b)  Wilfully dig, cut, move or remove from any park or park area any sand, wood, turf, grass, gravel,
shrub, or other material, or make any excavation by hand, tool. equipment, blasting. or other means

(c) Construct or erect any building or structure of any kind, whether permanent or temporary, or run or
string any public and/or private utility into, upon or across a park

(2) Trees, shrubbery, lawns. No person shall in any park do or cause to be done any of the following without
first obtaining a permit from the director:

(a) Wilfully pick, saw, chop, cut, carve, remove, or injure any flowers. seeds, blooms, bark, branches.
twigs, or leaves of any tree, plant, shrub. vine, bush or any other vegetation

(b) Wilfully drive any nail, staple, or attach or fasten any wire, rope, other device to any tree or plant,
or tie or hitch any animal to any tree or plant.

(c) Wilfully dig in or disturb any grass areas, or in any way injure or impair the natural beauty or
usefulness of any park area

(d) Wilfully climb any tree, or walk, stand or sit upon any monument. vase, fountain, railing, fence, or
any other park property designated or normaily used for such purpose

(e) Wilfully bring in or dump, deposit, or leave any botties, broken glass, ashes, paper, boxes, cans,
dirt, rubbish, waste, garbage, or refuse, or other trash; but shall place same in the proper receptacles
when these are provided, when receptacles are not so provided, ail such rubbish or waste shall be
carried away from the park by the person responsible for its presence, and properly disposed of
elsewhere

(D) RECREATIONAL ACTIVITIES.
(1) Swimming.
(a) No person in a park shall:

1 Swim, bathe, or wade in any waterway in or adjacent to any park. except in such water or
waterway as the director may designate, and in accordance with the terms of this section and
any other regulations that the director may promulgate

2 Frequent any water or places where swimming, bathing or wading !s permitted, except
during those hours that the director has established for such activities

3 Change into bathing clothes from street clothes, or from bathing clothes into street
clothes, except in a bath house or other structure designated for such use

(b) The director shall not designate any water or waterway for swimming, bathing or wading where
such use of the water would be dangerous to the public health, safety or welfare

(2) Fishing.

(a) No person shall engage in fishing for profit in park waters, or shall buy or sell fish caught in park
waters on park property.

(b) No person shall fish in any park waters where swimming, bathing, or wading is permitted

htto /livepublish mu /113b?f=templates& fn=document-frame htm&aq=cast%20net%20fish%20seine&x=Simple&2. 8/9/02
NextPaged Se RiGlBRcY 016 77-RAL Document 1. Filed 09/16/02 Page 72 of 96 PagelD Page | of |

Sec. 9-26. Cast net fishing; designation of prohibited areas.

(a) The mayor and police department may from time to time designate those docks, piers or bridges owned by the city
from which cast net fishing shall be prohibited and shall cause appropriate signs to be posted upon such facilities stating
that cast net fishing therefrom ts prohibited

(b) When any facility has been posted pursuant to (a) above it shall be unlawful for any person to take upon or use
from such facility any cast net or similar device for the purpose of taking or attempting to take any marine life

(c) Proof of possession by any person of any cast net or similar device upon any facility which has been posted
pursuant to (a) above shali be prima facie evidence of an intent to use such cast net or similar device for the purpose of
taking marine life.

(Code 1963, § 8-6)
State law references: Authority to regulate activities on property owned by the city, F.S. § 370 102

Secs. 9-27--9-45. Reserved

EXIBIT 5S

httn //ivenublish m /14257f=templates& fn=document-frame htm&q=cast%20net%20fish%20seine&x=Simple&2 8/13/02
NextPagetvePuinaneY OL677-RAL Document 1 Filed 09/16/02 Page 73 of 96 PagelD 73.

Page ' of |

Sec. 74-2. Prohibited fishing; restricted area and time.

it shall be unlawful for any person to fish from the beach or in the ocean, except from the city fishing pier within 100
yards of the beach, in the area of the city described as’ Bounded on the west by SE and NE 21st Avenue, and on the
north by the easterly extension of the north line of the city beach pavilion, and bounded on the south by the easterly
extension of the right-of-way line of S E. Tenth Street, Deerfield Beach, Florida, from the hours of 800 am to500pm.,,
EST, for the period of year from 12:01 a.m. on May 1 until 12:00 midnight on March 15, and from the hours of 9.00 a.m.
to 5:00 pm,€ST., for the period of year from 12:01 a.m. on March 15 to 12:00 midnight on May 1

(Code 1979, § 3303)

EXIBIT S6é

htto /Aivepublish municode com/4/Ivext dll/Infobase20/1/lebe/]ed9/lede?f=templates& fn=document-frame.htm&2 0 8/13/02
NextPagetSGebibiniey O16 77-RAL Document 1 Filed 09/16/02 Page 74 of 96 PagelID 74

Page | of |

A

Sec. 6-12. Fishing, skin-diving, scuba diving, spearfishing, launching of boats and operating vehicles
restricted.

(a) For the purposes of this section, a “boat" shall include, but is not limited to, any motor or wind-driven boat or vessel,
any jet-ski, inflatable device with an engine of any kind, sailboard. canoe or kayak

(b) it shall be unlawful to fish from boats, to fish from the beach, to fish from the surf, to swim, to scuba dive, to skin-
dive or to bring or allow any boat to come within an area of fifty (50) yards from the outside perimeter of the municipally-
owned fishing pier at Dania Beach !t shall also be unlawful to fish or surf cast from any part of the public beach
between the hours of 900 am and 6:00 pm. on any day Additionally, it shall be unlawful to fish from any boat within
three hundred (300) yards of the low water mark along the entire beach abutting the Atlantic Ocean in the city

(c) Snorkeling will be permitted up to a limit of fifty (50) yards into the Atlantic Ocean. measured eastward from the high
tide line of all public beach areas, except as stated above. Snorkeling beyond fifty (50) yards off the public beach is
prohibited, unless a person is entering the water in the designated diving area at the southernmost end of the public
beach or express permission is given by the supervising marine rescue officer. Artificial breathing devices. such as
scuba-tanks, aqua-lungs or hooka rigs, when used in the waters of the area known as Dania Beach, are confined to the
designated diving area at the southernmost end of Dania Beach, unless express permission to use such devices
elsewhere along the beach is obtained from the supervising marine rescue officer. The use of spearfishing guns, gigs,
slings, bows, polespears or any other type of guns on the beach, tn the water, or both is prohibited

(d) ‘It shall be unlawful to launch any type of boat (i.e. including but not limited to canoe, kayak, sailboat, sailboard, jet
ski, pleasure craft, boats being used by research or public safety and protection agencies or inflatable with engine) within
the municipal beach area, except within a designated launch area

(e) It shall be unlawful for any person to operate any vehicle on the beach, unless permission from the city manager or
designee has been obtained

(Code 1971, § 5-9, Ord No. 2000-027, § 7, 8-8-00)

EXIBIT 57

http‘//livepubl.. /a51?f=templates& fn=document-frame htmé&q=fish%20net™%20cast%20net%20seine&x=Simple&2. 8/13/02
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 75 of 96 PagelID 75
NextPage LivePublish Page | of |

Sec. 6-3. Commercial salt water fishing prohibited.

it shall be uniawful for any person to engage in the business of catching fish for resale or commercia! purposes
in any of the several salt water lakes and bayous within the city.

(Code 1982, § 6-3)
Cross references: Licenses, taxation and miscellaneous business regulations, Ch 15

State law references: Regulation of salt water fishing by municipalities, F S. § 370.102

EXIBIT 38

httn-//ltveoublish.municode.com/7/Ipext.dll/L.../e43 ?f=templates& fn=document-frame.htm&2. 6/27/02
NextPagedaveBablish01677-RAL Document1 Filed 09/16/02 Page 76 of 96 PagellPage | of |

Sec. 50-228. Swimming, diving or fishing in marina waters prohibited.

it shall be unlawful for any person to swim, dive or fish in the waters of Dinner Key yacht basin, Miamarina or
Watson Island Marina.

(Code 1967, § 50-7; Code 1980, § 53-

EXiGll 5Y

http://livepublish.municode.com/6/lpext.dIl/Infobase39/1/38bb/39fc/39 fd/3a 1 3?f=templates&1... 8/30/02

NextPagesbiyePublisn1677-RAL Document1 Filed 09/16/02 Page 77 of 96 PagelDPae | of |

Sec. 70-49. Commercial fishing.
Commercial fishing or the buying or selling of fish caught in any park waters is prohibited.

(Code 1970, § 18-36; Ord. No. 77-02, § 26, 10-5-76)

EXIBIT 6O

=) of PACO
. of,

http://livepublish. municode.com/7/Ipext.dll/Infobase3 1/1/1715/174c/1750/} 7ad?f=templates&f... 9/2/02
NextPagedei @:Pablisi01677-RAL Document1 Filed 09/16/02 Page 78 of 96 PagelWPage | of |

Sec. 21-1. Fishing in manmade canals/waterways.

(a) Prohibited generally. Pursuant to the authority of section 370.102, Florida Statutes, fishing, as described in
paragraph (b) below, within the manmade canalsAwaterways in Hemando County that have been dedicated to the
county as rights-of-way is prohibited in order to protect the safety and welfare of the citizens of the county

(b) Setting of nets prohibited; exception. It shall be unlawful for any person, firm or corporation to set, fish or
cause to be fished in the manmade saltwater canals in Hernando County, Florida, any seine, gill net or any other
kind of net for the purpose of taking or catching any saltwater fish. Common dip nets or cast nets used only for
the catching of bait are permitted.

(c) Crab traps. It shall be unlawful for any person, firm, entity or corporation to set unattended crab traps or any
unattended device designed for the purpose of taking or catching any variety of crabs within the man-made
saltwater canals in Hernando County, Florida. Crab traps designed for the purpose of taking or catching any
variety of crabs within the man-made canals in Hernando County shall be deemed as attended if secured to a
seawall, dock or bank and do not pose a threat to navigation.

(d) Posting and maintenance of signs. The Hernando County Port Authority shall post and maintain signs at the
entrance to such waterways indicating the above prohibition.

(Ord. No. 90-3, §§ 1, 2, 3-27-90; Ord. No. 90-10, § 3, 7-24-90; Ord. No. 94-05, § 1, 5-17-

EXIBIT 6|

Coumly of Hernando

http://livepublish.municode.com/5/Ipext.dll/Infobase2 1/1/1df8/1le0c/le0d?f=templates&fn=do... 8/30/02
cn
NextPagedswéPGBhsh-01677-RAL Document1 Filed 09/16/02 Page 79 of 96 PagePag@1 of |

Sec. 14-82. [Shrimping.]

{a) Lawful to take shrimp in certain areas by certain means. \t is lawful to take shrimp from the inside salt
waters of the State which lie and are located between the west line of Range 16 East and the east line of Range
22 East, and between the north line of Township 26 South and the south line of Township 39 South, by the use of
push nets and trawis, provided that no trawi shall be used for such purpose which shall exceed six feet in length
and three feet in height, and equipped with at least two rollers which shall be of a diameter not less than six
inches and which shall act to support the two outside ends of the trawl, or one roller extending continuously for
the whole distance, which roller shall be of a diameter not less than six inches.

(b) Unlawful during certain dates. It is unlawful to take shrimp from the salt waters of the State, lying within the
area described in subsection (a) of this section, by that means or device commonly known as a trawl, between
August + and October 31 of any given year.

(c) Unlawful to ship in certain areas. \t is uniawful to ship or transport by any means whatsoever any shrimp
permitted to be taken by the provisions of this section, between the territorial limits of the area described and
defined in subsection (a) of this section.

(d) Boat to be fitted with certain size propeller shoe. Any power-propelled boat used or employed in the taking
of shrimp permitted by this section shall be fitted with an effective propeller shoe at least ten inches by 14 inches,
adequate to prevent damage to the water bottom by propeller action.

{e) Penalty. Any person who shail violate the provisions of this section, or any of them, shall be deemed guilty
of a misdemeanor, and upon conviction shall be punished accordingly.

(Ord. No. 72-057, §§ 1—5, 10-10-1972)

EX(IBIT 6a

http://livepublish. municode.com/8/lpext.dll/Infobase9/ 1/5a3/6d6/6dc?f=templates&fn=docum... 8/30/02

NextPapedeiveBablis)1677-RAL Document1 Filed cokes hy2| ReapF so gh 5% PagelDeer ! of 2

Cossrty of Sanmrsota_ (2 poses)

Sec. 130-35. [Commercial Vessels prohibited in waters of Warm Mineral Springs.]

(a)

(b)

Findings.

(1) The area in unincorporated Sarasota County known as "Warm Minera! Springs" is a unique water-
oriented residential community where interconnected lakes and canals constitute an integral part of the
character of the community.

(2) It has long been recognized in Florida that regulations which promote the integrity of a
neighborhood and preserve its residential character are related to the general welfare of the community
and are valid exercises of a County's legislative power.

(3) Commercial activities in and upon the waters within Warm Mineral Springs are detrimental to the
residential and recreationa} character of the Warm Mineral Springs community.

(4) F.S. § 125.012(11) authorizes the Board of County Commissioners to regulate the operation and
conduct of all watercraft of any kind plying or using the waterways within Sarasota County.

(5) The exclusion of commercial activities from the waters within Warm Mineral Springs treats local and
interstate commerce evenhandedly, affects interstate commerce only incidentally, if at all, and is
necessary to effectuate a legitimate local public interest, i.e., promoting the integrity of a neighborhood
and preservation of the residential character of a community.

Definitions. As used in this section, the following words and terms shall have the meanings as provided

herein, unless another meaning is plainly intended:

(1) Warm Mineral Springs means that area within incorporated Sarasota County which includes Warm
Minera! Springs Subdivision Units 51 to 90 as recorded in Plat Book 7, Pages 83, 84, 90, 94; Plat Book 8,
Pages 12 to 14, 18, 38, 39, 46 to 48, 68 to 71, 98 to 107; Plat Book 9, Pages 7, 7A, 8, 11, 11A, 46, 46A;
Plat Book 10, Pages 23, 23A, 49 to 49H, 82 to 82F, 89A, 89B; and Plat Book 17, Page 4; official records
of Sarasota County, Florida.

(2) Commercial Vessel.
a. “Commercial Vessel" means:

1. Any Vessel primarily engaged in the taking of saltwater fish or saltwater products or
freshwater fish or freshwater fish products from within the waters of the State of Florida
for sale to the consumer, retail dealer, or wholesale dealer.

2. Any Vessel engaged in any activity wherein a fee is paid by the user, either directly
or indirectly, to the owner, operator, or custodian of the Vessel.

3. Except as provided herein, any Vessel displaying a Commercial Vessel registration
decal issued by the Tax Collector.

b. "Commercial Vessel" shall not include the following:
1. Any Vessel owned or operated by or under contract to a governmental entity;

2. Any Vessel engaged in the conduct of scientific research, including but not limited to
measurement, collection of specimens, observation, or activities in support of research.
Operators of Vessels engaged in scientific research shall maintain in their possession
evidence that such Vessei is owned or operated by, or otherwise under contract to, an
organization or finn whose primary function is science, engineering or environmental
monitoring.

(3) Vesse/ means every description of watercraft, barge, and airboat, used or capable of being used as
a means of transportation on water.

http://livepublish.municode.com/8/lpext.dll/Infobase9/ 1/4 fbe/4 fee/503a? f=templates&tn=docun 8/30/02
NextPagedse@Gheh-01677-RAL Document1 Filed 09/16/02 Page 81 of 96 PageRage12 of 2

(c) Prohibition. It shall be unlawful for any Commercial Vessel to navigate in or upon the waters of Warm
Mineral Springs.

(d) Exemption. Notwithstanding the provisions of subsection (c) of this section to the contrary, Commercial
Vessels required for permitted construction, including dredging and filling, within Warm Mineral Springs shall be
entitled to navigate in or upon the waters of Warm Mineral Springs, but only for that period of time that such
Vessels are actually required. Operators of Commercial Vessels engaged in construction within Warm Mineral
Springs shall maintain in their possession evidence that the Vessel is engaged in a permitted construction activity
Failure to provide such information upon the request of any person authorized to enforce this section shall be
prima facie evidence that such Vessel is navigating in or upon the waters of Warm Mineral Springs in violation of
this section.

(e) Posting. The Warm Mineral Springs Civic Association, inc., shall be responsible for posting the entrance to
the waters of Warm Mineral Springs with signs clearly visible from the water declaring "Commercial Vessels
Prohibited.”

(f} Penalty. Violation of this section shal! be punishable by a fine not to exceed $500.00 or by imprisonment in
the County jail not to exceed 60 days or by both such fine and imprisonment. Each day or fraction thereof that a
violation continues shall be considered a separate offense.

(gq) Severability. if any provision of this section is for any reason finally held invalid or uncanstitutional by any
court of competent jurisdiction, such provision shall be deemed a separate, distinct, and independent provision
and such holding shall not affect the validity of the remaining provisions.

(Ord, No. 86-031, §§ 1-7, 5-6-1986)

http://livepublish. municode.com/8/Ipext.dll/Infobase9/1/4fbe/4 fce/503a? f=templates& fn=doci.. 8/30/02
Case 8:02-cv-01677-RAL DOAN. (led 09/16/02 Page 82 of 96 PagelD 82

PARKS AND RECREATION

Sec. 90-15. Use of vehicles.

No person, except in emergencies, shall change
any parts, repair, wash, grease or perform other
maintenance on a vehicle on any park roadway,
parkway, driveway, parking lot or other park
property. Waxing and polishing is permitted in
parks provided it is in an area open to vehicles
and does not interfere with other park activities
or traffic flow.

(Ord. No. 02-7, § 2, 1-8-02)

Sec. 90-16. Fishing.

(a) No person shall fish on park property
whether by the use of hook-and-line, seine, net
trap, spear, gig, or other device, except in areas
designated by the county administrator for that
use and under such regulations and restrictions
as have been or may be prescribed by the county
administrator.

(b) Fishing will be in accordance with the state
fish and wildlife conservation commission and the
state department of environmental protection rules
and regulations.

(c) No person shall at any time fish from
beaches in any area where bathing and swimming
are permitted.

(d) Unwanted fish must be properly disposed
of and not left on piers, catwalks or roads.

(e) Various types of fishing shall be permitted
where designated from park-owned facilities such
as piers, catwalks, waters, etc., according to posted
hours.

(Ord. No. 02-7, § 2, 1-8-02)

Sec. 90-17. Hunting and weapons.

(a) No person shall carry, use or possess weap-
ons of any description, including, but not limited
to, air rifles, pistols, spring guns, bows and ar-
rows, paintguns, water cannons, bb guns, sling-
shots, boomerangs, or any other form of weapon
harmful or dangerous to wildlife or dangerous to
human safety on or in any park property except at
and in accordance with the rules and regulations
as a participant in a program approved by the
board of county commissioners, unless authorized
by law.

Supp. No 27

CD90:9 .

§ 90-20

(b) No hunting, trapping or pursuit of wildlife
by any means whatsoever will be permitted on or
in any park property by unauthorized persons.
(Ord. No. 02-7, § 2, 1-8-02)

Sec. 90-18. Toy firearms, fireworks, and ex-
plosives.

(a) No person shall at any time bring into, or
have in his possession, or discharge anywhere, in
any park, any toy firearm, air rifle, airgun, water
gun, toy cannon, slingshot, bow and arrow, or any
toy or instrument that discharges projectiles ei-
ther by air, elastic, explosive substance or any
other force.

(b) No person may bring into or have in his
possession, or set off or otherwise cause to ex-
plode, discharge or burn in any park or on any
public lands or highways adjacent thereto, any
firecrackers, torpedoes, rockets, or cannon or other
fireworks or explosives of flammable material or
any substance, compound, mixture, or article that,
in conjunction with any other substance or com-
pound may explode, discharge or burn, except
with written approval by the county administra-

tor.
(Ord. No. 02-7, § 2, 1-8-02)

Sec. 90-19. Horseback riding.

(a) No person shall engage in horseback riding
in any park property other than those where
provision for such is made by lease and/or signage,
and clearly marked bridle paths, trails, rings, and
other necessary features and then only upon
thoroughly broken and properly restrained ani-
mals that are ridden with care, prevented from
grazing, straying unattended, untethered to any
rock, tree or shrub and not ridden or led on any
park property other than that so designated.

(b) No person shall tie or hitch a horse or other
animal to any tree or plant.

(Ord. No. 02-7, § 2, 1-8-02)
Sec. 90-20. Pets.

(a) Pets shall be excluded from camping areas,
swimming areas, beaches, bridges or any place
where food and drinks are sold and consumed and
any areas designated by the county administra-

" ExieIT 64
Cowrity

Punetiian
Case 8:02-cv-01677-RAL D .
NextPage LivePablish ocument 1 Filed 09/16/02 Page 83 of 96 PagelD, 83, lof

Sec. 23-28. Prohibiting commercial watercraft and/or boats near public beaches and
parks.

(a) No embarkation or disembarkation of passengers of commercial watercraft or boating operations shail
take place on, across by way of or within 600 feet of any public beach or public park designated by the county,
except when loading or unloading a boat or watercraft at a boat ramp designated by the county administrator
for that purpose, nor shall any commercial watercraft or boat, whether motorized or nonmotorized, be
anchored, tied off or otherwise stored within 600 feet of such public beach or public park. unless specifically
authorized in a valid franchise or lease agreement with the county.

(b) Commercial boating or watercraft shall be defined as any boat or watercraft utilized or leased for
commercial purposes

(c) This section shall not apply to any commercial watercraft or boating operation currently operating within
the designated area and which possesses all required licenses and insurance, until September 30, 1996. This
section shall not apply to any boat or watercraft located in the intercostal waterway

(Ord No 96-12, §§ 1--3, 6-13-96)

EXiBIT 65
Scunta. Rose Coumsty

http://livepublish.municode.com/8/lpext.dll/Infobase8/4 1/1 58f/159c/15ae 6/27/02
NUM P@ASBICEPATISI1677-RAL Document1 Filed 09/16/02 Page 84 of 96 PagelD’age i of i

Sec. 106-44. Designation of areas of requiated water activities.

(a) All waters offshore from ail beaches and shorefront bathing areas shall be designated with a
sign. Such aréas shall be determined on a case-by-case basis and so posted wiih an aporapriate sign.
(b) All waters offshore from any commercial and/or public marina, aock. pier Mooring or similar landing facility
used primarily for watercraft or a water-oriented activity such as fishing. shall be designated with an appropriate
sign. Such areas shall be determined on 4 case-by-case basis and posted with an appropriate sign

(c) Any area designated as an official "idie speed/nio wake zone” of “Siow down/minimum wake zone
shall be posted in such a manner and place thai it may be reasonably expected ic

in operation of a vessei within the area.

(d) Any other area may be designated by the board of county commissioners according to the orocedure set
forih in section 106-46.

(e) Ali areas of regulated water activity so designated pursuant to Ordinance No 85-04 by resolution shall be
deemed to be areas of regulated water activity for purposes of this article.

if} All areas designated as “areas of regulated water activities" shall be so posied with signs that are in
accordance with the provisions of the Florida Uniform Waterway Marking System The board does nereby adopt.

by reference, the provisions of F.A.C. 716N-23. A copy of such chapter 16N-23, “Uniform Waterway Markers in
Florida Waiters,” is attached to Ord. No. 88-17 and made a part of this section by reference.

(Ord. No. 88-17, §§ 8, 15, 10-18-88)

http://livepublish.municode.com/4/Ipext. dil/Infobase | 1/1/2376/23c7/23ef"f=templates& fn=de.. 7/13/02
NextPage EREPaUNeH CY O16 77-RAL Document 1 Filed 09/16/02 Page 85 of 96 PagelD Babe | of |

Sec. 14A-13. Gill nets of a certain size prohibited; restriction on purse seines.

(a) {t shall be unlawful and a violation of this article for any person, firm, corporation or any other entity to use, by
placing on or within Dade County waters, any gill net which hangs or will stretch to a dimension or depth greater than
seventeen (17) feet when measured from the top of the net or floats to the bottom of the net or lead line

(b) For purposes of this article a gill net shal! be defined as a net or wall of webbing suspended vertically in the water
by means of weights on the net or Jead line and floats on top of the net or float line and 1s designed to take or capture
fish which become entangled in the webbing of the net

(c) it shall be unlawful and a violation of this article for any person, firm, corporation or any other entity to use, by
placing on or within Dade County waters, any purse seines or nets except when used in taking bait fish or menhaden

fish.
(Ord No. 82-73, § 3, 9-7-82; Ord. No. 82-108, § 1, 11-16-82)

EXIBIT 67
Dade County

http //ivepublish.mu_ ./42489f=templates& fn=document-frame.htm&q=cast%20net%20fish%20seine&x=Simple&2. 8/9/02
NextPapedei @ePabtisi01677-RAL Document1 Filed 09/16/02 Page 86 of 96 PagelPage | of 2

_—
EXIBIT 63_
Sec. 2-24-34. Recreational activities. /
No person in a_ park Manclew Co. @ pages)

(1) 8athing and swimming.

a. Designated areas. Swim, bathe or wade in any waters or waterways in or adjacent to any
park, except in such waters and at such places as are provided therefor, and in compliance with
such regulations as are herein set forth or may be hereafter adopted. Nor shali any person
frequent any waters or places customarily designated for the purpose of swimming or bathing, or
congregate there, when such activity is prohibited by the director upon a finding that such use of
the water would be dangerous or otherwise inadvisable.

b. Certain hours. Frequent any waters or places designated for the purpose of swimming or
bathing, or congregate there, except between such hours of the day as shall be designated by
director for such purposes for each individual area.

c. Structure on beach. Erect, maintain, use of occupy on or in any beach or bathing area any
tent, shelter or structure of any kind, except by special written permit granted by the director.

d. Clothing. Knowingly or intentionally appear nude in a public place within a Manatee County
park or in any place within a county park which is readily visible to the public, except in places
provided for or set apart for nudity. Attire which is insufficient to comply with this subsection (d)
includes, but is not limited to, G-Strings, T-Backs, dental floss and thongs. Any live act,
demonstration, exhibition, performance or entertainment which is protected by United States or
Florida Constitutional provisions guaranteeing freedom of expression is exempt from the
requirements of this subsection(d).

e. Bathhouses. Dress or undress on any beach, or other public place, or in any vehicle, toilet or
other place, except in such bathing houses or structures as may be provided for that purpose.

f. | Abide by instructions. Fail to abide by the instructions of the lifeguard or attendant on duty
concerning the playing of games and fishing from the beaches or other waterfront areas.

(2) Boating.

a. Oesignated areas. Bring into or operate any boat, raft or other watercraft, whether motor-
powered or not, upon any waters, except at places designated for boating. Such activity shall be
in accordance with applicable regulations as are now or may hereafter be established.

b. Public docks. Use the public docks for dockage or other purpose without first making
arrangements for such accommodation with the director, who shall assign space and collect
reasonable rental charges in conformity with established regulations and rates.

c. Operation of boats. Navigate, direct or handle any boat in such a manner as unjustifiably or
unnecessarily to annoy or frighten or endanger the occupants of any other boat.

d. Prohibition during closing hours. Launch, dock or operate any boat of any kind on any
waters between the closing hour of the park at night and opening hour the following morning,
except as may be permitted at specific park locations.

(3) Fishing.

a. Commerce prohibited. Engage in commercial fishing, or the buying or selling of fish caught
in any waters.

b. General prohibition. Fish in any waters, whether fresh or salt, and whether by the use of

hook-and-line, net, trap or other device, except in waters designated by the director for that use
and under such regulations and restrictions as have been or may be prescribed by the director.

http://livepublish. municode.com/6/Ipext.dll/Infobase27/1/1c86/1cad/Icdf?ftemplates&fn=do... 8/30/02
NextPageckiveBablisi01677-RAL Document1 Filed 09/16/02 Page 87 of 96 PagelDPage 2 of 2

c.  Off-shore. Fish off-shore from any type of boat within three hundred (300) feet of a public
beach, pier, or authorized fishing groin or pier. Nor shall any person at any time fish in any area
where bathing is permitted.

(4) Hunting and firearms. Hunt, trap or pursue wildlife at any time. No person shall use, carry or
possess firearms of any description, or air rifles, spring guns, bow-and-arrows, slings or any other form of
weapon potentially inimical to wildlife and dangerous to human safety, or any instrument that can be
loaded with and fire blank cartridges, or any kind of trapping device. Shooting into park areas from
beyond park boundaries is forbidden.

(5) Picnic areas and use.

a. Regulated. Picnic or lunch in a place other than those designated for that purpose.
Attendants shall have the authority to regulate the activities in such areas when necessary to
prevent congestion and to secure the maximum use for the comfort and convenience of allt.
Visitors shall comply with any directions given to achieve this end.

b. Availability. Violate the regulation that use of the individual fireplaces together with tables
and benches, follows generally the rule of ‘first come, first served."

c. Nonexclusive. Use any portion of the picnic areas or of any of the buildings or structures
therein for the purpose of holding picnics to the exclusion of other persons, nor shall any person
use such area and facilities for an unreasonable time if the facilities are crowded.

d. Duty of picnicker. Leave a picnic area before the fire is completely extinguished and before
all trash in the nature of boxes, papers, cans, bottles, garbage and other refuse is placed in the
disposal receptacies where provided. If no such trash receptacles are available, then refuse and
trash shall be carried away from the park area by the picnicker to be properly disposed of
elsewhere.

(6) Camping. No person shall set up tents, shacks or any other temporary shelter for the purpose of
overnight camping, nor shall any person leave in a park after closing hours any movabie structure or
special vehicle to be used or that could be used for such purpose, such as house-trailer, camp-trailer,
camp-wagon, or the like, except by special written permit granted by the director.

(7) Games. Take part in or abet the playing of any games involving thrown or otherwise propelled
objects such as balls, stones, arrows, javelins or model airplanes except in areas set apart for such forms
of recreation. The playing of rough or comparatively dangerous games such as football, baseball and
soccer is prohibited except on the fields and courts or areas provided therefor. Roller-skating shall be
confined to those areas specifically designated for such activity.

(8) Horseback riding. Ride a horse except on designated bridle trails. Where permitted, horses shall be
thoroughly broken and properly restrained, and ridden with due care, and shall not be allowed to graze or
go unattended, nor shail they be hitched to any rock, tree or shrub.

(Ord. No. 82-19, § 5, 10-26-82; Ord. No. 92-59, § 4, 12-14-

Cross references: Nudity in county-controlled facilities, § 2-21-5; harvesting of wild game in Duette Park, § 2-24-
51 et seq.

http://livepublish. municode.com/6/lpext.dll/Infobase27/1/1c86/1cad/Icdf?ftemplates& fn=do... 8/30/02
NextPapedei @:Babtisi01677-RAL Document1 Filed 09/16/02 Page 88 of 96 PagelWPage | of |

Sec. 11-261. Fishing.

Except where specifically designated, fishing, or the buying or selling of fish caught in any natural area waters, is
prohibited in all natural areas.

(Ord, No. 94-13, § 11, 6-21-94)

EXIBIT 64
Palinr Beacdn Co.

http://livepublish.municode.com/7/Ipext.dll/Infobase23/1/17ef/1ba7/lbda?f=templates&fn=do... 8/30/02
NextPage, baveRybligho1677-RAL Document1 Filed 09/16/02 Page 89 of 96 PagelBags | of I

Sec. 21-26. Fishing.
(a) The buying or selling of fish is prohibited within park property.
(b) Sport fishing is allowed within park property except where specificaity prohibited.

(c) The use of a troll line for fishing purposes is prohibited within any park property. Set cane poles are
permitted if attended.

(d) All applicable state law pertaining to fishing and licensing shall be enforced within park property.
(e) The director may establish specific fishing regulations for various water bodies within park property.

(Ord. No. 96-44, § 11, 10-15-96)

EXIBIT 70

http://livepublish. municode.com/7/lpext.dll/Infobase23/1/3270/3297/32e3? t=templates&fn=di... 8/30/02
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 90 of 96 PagelID 90

"DEFENDENT ADDRESSES "

State of Florida

Att: Govenor Jeb Bush
Executive Office of Govenor
The Capitol

Tallahassee , Fla. 32399-0001

F.F.W.C.C. (Fla. Fish & Wildlife Cons, Comm.)
Att: Ken Haddadd , exec. dir.

620 South Meridian St.

Tallahassee , Fla. 32399-1600

Fla. Attorney General

Att: Bob Butterworth

PL - 01 Capitol

Tallahassee , Fla. 32399 - 1050

City of Sanibel
800 Dunlop Road
Sanibel , Fla. 33957

City of Port Richey
6333 Ridge Road
Port Richey , Fla. 34668

City of Plantation
400 N.W. 73 Ave.
Plantation , Fla. 33313

City of Parkland
6600 University Drive
Parkland , Fla 33067

City of Parker
P.O. Box 10619
Parker , Fla. 32404

City of Panama City
P.O. Box 1880
Panama City , Fla. 32402 - 1880

City of Palmetto
P.O. Box 1209
Palmetto , Fla. 34221

City of Ormond Beach
535 North Nova Road
Ormond Beach , Fla. 32174

City of Lantana
7580 South Federal Highway
Lantana , Fla. 33462

City of Lake Worth
7 North Dixie Highway
Lake Worth , Fla. 33460
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02

(DEFENDENTS ADDRESSES , CONT.)

City of Jacksonville Beach
11 North 3 rd. Street
Jacksonville Beach , Fla. 33250

City of Vero Beach
P.O. Box 1389
Vero Beach , Fla. 32961

City of Venice
401 West Venice Ave.
Venice , Fla. 34285

City of Valparaiso
465 South Valparasio Parkway
Valparasio, Fla. 32580

City of Titusville
P.O. Box 2806
Titusville , Fla. 32781 - 2806

City of Tampa
306 East Jackson Street
Tampa , Fla. 33602

City of Surfside (Town of)
9293 Harding Ave.
Surfside , Fla. 33154

City of Stuart
120 Southwest Flagler Ave.
Stuart , Fla. 34994

City of Satelite Beach
565 Cassia Blvd.
SaTELITE Beach , Fla. 32937

City of St. Petersburg
P.O. Box 2842
St. Petersburg , Fla. 33731

City of Gulfport
2401 53 rd Street South
Gulfport , Fla. 33707

City of Treasure Island
120 108 th Ave.
Treasure Island , Fla. 33706

City of Tarpon Springs
324 East Pine Street
Tarpon Springs , Fla. 34689

Page 91 of 96 PagelD 91
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02

(DEFENDENT ADDRESSES (Cont.) )

City of Safety Harbor
750 Main Street
Safety Harbor , Fla. 34695

City of Maderia Beach
300 Municiple Dr.
Maderia Beach , Fla. 33708

City of Oldsmar
100 State Street West
Oldsmar , Fla. 34677

City of Clearwater
P.O. Box 4748
Clearwater , Fla. 33758

City of Indian Rocks Beach
1507 Bay Palm Blvd.
Indian Rocks Beach , Fla 33785

City of Largo
201 Highland Ave.
Largo , Fla. 33770

City of Cocoa
603 Brevard Ave.
Cocoa , Fla. 32922

City of Bradenton
101 12th St. West
Bradenton , Fla. 34205

City of Bradenton Beach
107 Gulf Drive North
Bradenton Beach , Fla. 34217

City of Bay Harbor Islands
9665 Bay Harbor Terrace
Bay Harbor Islands , Fla.

City oh Key Colony Beach
P.O. Box 510141
Key Colony Beach , Fla. 33051

City of Anna Maria
P.O. Box 608
Anna Maria , Fla. 34216

City of Highland Beach
3614 South Ocean Blvd.
Highland Beach , Fla. 33487

Page 92 of 96 PagelD 92
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02

(DEFENDENTS ADDRESSES CONT.)

City of Cocoa Beach
2 South Orlando Ave.
Cocoa Beach , Fla. 32391

City of Golden Beach
1 Golden Beach Drive
Golden Beach , Fla. 33160

City of Flagler Beach
P.O. Box 70
Flagler Beach , Fla. 32136

City of Coral Springs
9551 West Sample Road
Coral Springs , Fla. 33065

City of FT. Meyers
2200 2nd. Street
Ft, Myers , Fla. 33901

City of Deerfield Beach
150 N.E. 2 nd. Ave.
Deerfield Beach , Fla. 33441

City of Dania Beach
100 West Dania Beach Blvd.
Dania Beach , Fla. 33004

City of Miami
405 Biltmore
Miami , Fla. 33134

County of Pasco
7530 Little Road , Suite 340
New Port Richey, Fla. 34654

County of Hernando
20 North Main Street
Brooksville , Fla. 34601

County of Sarasota
1660 Ringling Blvd. , 2 nd floor
Sarasota , Fla. 34236

County of Pinellas
315 Court ST. , 6 th floor
Clearwater , Fla. 33756

County of Santa Rosa
6495 Caroline Street , Suite C
Milton , Fla. 32570

Page 93 of 96 PagelD 93
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02

(DEFENDENTS ADDRESSES CONT. )

County Of Citrus
111 West Main Street , 3 rd floor
Inverness , Fla. 34459

County of Dade

Stephen P. Clark Ct. , Suite 2810
111 N.W. First Street

Miami , Fla. 33128

County of Manatee
P.O. Box 1000
Bradenton , Fla. 34206

County of Palm Beach
301 North Olive Ave.
West Palm Beach , Fla. 33401

Page 94 of 96 PageID 94
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 95 of 96 PageID 95

“ RELATED SPECIAL CONSIDERATIONS "

1.) Municipalities illegally use F.F. 810 (Tresspass) to deny

access to legal productive saltwaters. Plaintiff has the documents
to prove and ask the court to hear argument on this cause as it fits

this cause before the court but is not a municiple law.

"signs which do

2.) Many municipalities post " No Cast Netting
not have an ordinance to back them up or cite. Nevertheless the
municipalities illegally regulate "method of taking" and deny access

to legal productive saltwaters and plaintiff has documents of proof.

3.) Asking the court to consider the blatant disreguard and frus-
tration heaped upon Plaintiff by F.F.W.C.C. such as;

**Plaintiff prevailed via Mandamus against F.F.W.C.C. for
Declaratory Statement that F.F.W.C.C had 90 days to act. It took
3 years and Mandamus to compel them to behave.The F.F.W.C.C stands
as the most redundantly notified of repugnant overregulating , so
much, that it is offensive and prays the court to search out the

Many documents that testify to the negligence by the F.F.W.C.C. .

4,) Plaintiff prevailed against the City of St. Petersburg via
Declaratory Judgment and this four vears later, the City has still

not complied with the courts order.

5.) That Plaintiff has been prosecuted five times for and by

illegal municipal ordinances and 211 documents to prove.
Case 8:02-cv-01677-RAL Document1 Filed 09/16/02 Page 96 of 96 PageID 96

"CLASS ACTION ALLEGATIONS"

i.) Plaintiffs "occupation" is a statewide industry encompassing
all retail , wholesale and all commercial fishers in the state of
Florida. Each and everyone easily identified individually and so

numerous that joinder of all members is impractible.

2.) All the questions of iaw and facts of this cause before this

court are common to the class.

3.) The claims and defences of the parties are aligned exactly.

4.) The interest of the class are adequately protected.

5,) This great harm upon this entire statewide industry has ex-
isted for ongoing ten years. The total cummulative effect upon
this statewide industry is not easily exaggerated.

** Thousands of illegal and ridicoulous prosecutions , fines ,
incarcerations and or forfeitures upon very innocent persons who
broke no laws whatsoever.

** Millions of pounds of products that were and are illegally

denied access to the industry as a whole.

6.) The total harm to the entire industry, the related jobs ,
the wholesale and retail economy , is tremendous. The citrus
industry is a crybaby , we have and do suffer the probable
equivalent of two freezes per year for over ten years and with

no relief whatsoever.

Plaintiff moves the court for class action status.
